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                             CASE NOS. 22-2220(L), 23-1096                                           PUBLIC
                                                     IN THE
                   United States Court of Appeals
                            FOR THE FOURTH CIRCUIT


                             DUKE ENERGY PROGRESS, LLC,
                                                                                                 Petitioner/Intervenor
                                                              v.

                    FEDERAL COMMUNICATIONS COMMISSION;
                         UNITED STATES OF AMERICA,
                                                                                                        Respondents,

                    BELLSOUTH TELECOMMUNICATIONS, LLC,
                 d/b/a AT&T North Carolina, d/b/a AT&T South Carolina
                                                                                                Intervenor/Petitioner,



         ON APPEAL FROM THE FEDERAL COMMUNICATIONS COMMISSION


                       PUBLIC (Redacted) PAGE-PROOF
                 OPENING BRIEF OF PETITIONER/INTERVENOR




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                           DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            22-2220
        No. __________             Caption: __________________________________________________
                                            Duke Energy Progress, LLC v. Federal Communications Commission

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Duke Energy Progress, LLC
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Petitioner          makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?
                                                                                              □ YES □
                                                                                                    ✔ NO



        2.      Does party/amicus have any parent corporations?
                                                                                              □✔ YES
                                                                                                       □NO
                If yes, identify all parent corporations, including all generations of parent corporations:

                 Duke Energy Corporation




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?
                If yes, identify all such owners:
                                                                                         □
                                                                                         ✔ YES
                                                                                                 □   NO

                 Duke Energy Corporation




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?
              If yes, identify entity and nature of interest:
                                                                                            □ YES □   ✔ NO




        5.    Is party a trade association? (amici curiae do not complete this question)    □ YES □✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?
                                                                                                  □ YES□
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
                                                                                                            ✔ NO


              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?
              If yes, the United States, absent good cause shown, must list (1) each organizational
                                                                                                   □     □
                                                                                                  YES ✔ NO

              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Eric B. Langley
        Signature: ____________________________________                       Date: ___________________
                                                                                      December 12, 2022

                     Duke Energy Progress, LLC
        Counsel for: __________________________________




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                                         GLOSSARY

         Act           This term refers to the Pole Attachments Act, 47 U.S.C. § 224,
                       as amended.
         Answer        This term refers to the November 13, 2020 answer that Duke
                       filed with the FCC in response to AT&T’s complaint.
         AT&T          This term refers to BellSouth Telecommunications, LLC d/b/a
                       AT&T North Carolina and AT&T South Carolina. AT&T was
                       the complainant in the proceeding below, an intervenor in
                       Proceeding No. 22-2220 and the petitioner in Proceeding No.
                       23-1096.
         CATV          This term refers to cable television system. Originally, the Act
                       only applied to attachments made by CATVs to poles owned by
                       telephone and electric utilities.
         CLEC          This term refers to competitive local exchange carriers (i.e.,
                       non-ILEC telecommunications carriers).
         Communication This term comes from the NESC and refers to the separation
         Worker Safety space (typically 40”) required between the lowest electric
         Zone          facility and the highest communications attachment on a pole.
                       The communication worker safety zone is sometimes called the
                       “safety space.”
         Complaint     This term refers to the pole attachment complaint that AT&T
                       filed with the FCC on September 1, 2020. The Complaint
                       alleges, inter alia, that the rate AT&T pays for making pole
                       attachments on Duke’s poles is not “just and reasonable.”
         Duke          This term refers to Duke Energy Progress, LLC. Duke is the
                       petitioner in Proceeding No. 22-2220 and an intervenor in
                       Proceeding No. 23-1096.
         EB Order      The September 21, 2021 memorandum opinion and order issued
                       by the FCC’s Enforcement Bureau in the complaint proceeding
                       underlying this appeal.
         FCC           This term refers to the Federal Communications Commission.
         ILEC          This term refers to incumbent local exchange carriers, as defined
                       by 47 U.S.C. § 251(h). ILECs are essentially legacy telephone
                       companies and include former Bell telephone companies, such
                       as AT&T.
         NESC          National Electric Safety Code, Institute of Electrical and
                       Electronics Engineers, Inc. (2017).


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         New Telecom     The annual pole attachment rate applicable to attachments made
         Rate            by non-ILEC telecommunications carriers, pursuant to 47
                         U.S.C. § 224(e), for the period following the effective date of
                         the 2011 Order.
         Old Telecom     The annual pole attachment rate applicable to attachments made
         Rate            by non-ILEC telecommunications carriers, pursuant to 47
                         U.S.C. § 224(e), for the period preceding the effective date of
                         the 2011 Order. The Old Telecom Rate is higher than the New
                         Telecom Rate.
         Order           The November 17, 2022 order on reconsideration and review
                         entered by the FCC in the complaint proceeding underlying this
                         appeal.




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                              JURISDICTIONAL STATEMENT

              This Petition, which Duke filed on November 28, 2022, seeks review of the

        Order, a final, appealable agency action that was adopted by the FCC on November

        17, 2022 and released on November 18, 2022. Because the Petition challenges a

        final order entered by the FCC, the Court has subject matter jurisdiction over this

        appeal pursuant to 28 U.S.C. § 2342 and 47 U.S.C. § 402(a). Venue in this Court is

        proper pursuant to 28 U.S.C. § 2343 because Duke has its principal place of business

        in North Carolina.

                                STATEMENT OF THE ISSUES
        I.    Whether the FCC acted arbitrarily, capriciously or otherwise contrary to law

              by awarding AT&T a refund for periods governed by the 2011 Order based

              on the retroactive application of a new legal standard that directly contradicts

              the legal standard that existed during the entire period governed by the 2011

              Order?

        II.   Whether the FCC acted arbitrarily, capriciously or otherwise contrary to law,

              by assigning the cost of the communication worker safety zone to Duke when

              the uncontroverted testimony demonstrates that the communication worker

              safety zone would not exist on Duke’s poles but for the presence of AT&T

              and other communications attachments?




                                                  1
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        III.   Whether the FCC acted in violation of 47 U.S.C. § 224, arbitrarily or

               capriciously by exercising jurisdiction over AT&T’s pole attachment

               complaint, given that:

               A. AT&T is an ILEC, and ILECs are expressly excluded from the definition

                  of “telecommunications carrier” with rights under Section 224; and

               B. The FCC lacks jurisdiction over the rates for attachments by Duke to utility

                  poles owned by AT&T, which makes it impossible for the FCC to provide

                  complete relief in this dispute?

                                    STATEMENT OF THE CASE

               Since the advent of their respective services, telephone and electric utilities

        have shared pole networks. The arrangements between telephone and electric

        utilities are typically embodied in privately negotiated “joint use agreements,”

        pursuant to which each party has access to the other party’s poles in their overlapping

        service areas. Joint use agreements eliminated the need for each party to build its

        own pole network, saving each party (and their customers) money and sparing the

        public from the aesthetic nuisance of redundant networks.

               Duke and AT&T have been parties to a joint use agreement for many decades.

        The most recently executed joint use agreement between the parties is dated October

        20, 2000. During all time periods relevant to this proceeding, the parties shared

        space on approximately 179,000 utility poles in North Carolina and South Carolina,


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        with approximately 148,000 of them owned by Duke and approximately 31,000

        owned by AT&T. The parties share the cost of this jointly used network through a

        contractual rental rate methodology. The per-pole annual rate each party pays the

        other—and the manner in which the rate adjusts on an annual basis—is expressly set

        forth in the joint use agreement. At the end of each year, the amounts owed by each

        party are netted out, and the party to whom net rentals are owed sends an invoice to

        the other party. For the 2017-2019 period, the contractual per pole rates were as

        follows:

                                                2017         2018       2019
                   AT&T on Duke Poles          $            $          $
                   Duke on AT&T Poles          $            $          $

        Until 2011, the FCC did not exercise jurisdiction over any aspect of the joint use

        relationship between Duke and AT&T—or between any electric utility and ILEC.

              The Pole Attachments Act, as first enacted by Congress in 1978, gave the FCC

        authority to regulate the rates, terms, and conditions for CATV attachments to

        telephone and electric utility poles. The Telecommunications Act of 1996 amended

        the Pole Attachments Act in two important ways: (1) Congress added a new entity

        entitled to specific regulatory protections—the “telecommunications carrier”

        (which, for purposes of the Act, specifically excludes ILECs—i.e. the incumbent

        telephone utilities whose poles were subject to the FCC’s jurisdiction); and (2)




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        Congress added attachments by a “provider of telecommunications service” to the

        definition of “pole attachment.” 47 U.S.C. § 224(a)(4) & (5).

              In an early rulemaking implementing the 1996 amendments, the FCC stated:

        “Because, for purposes of Section 224, an ILEC is a utility but is not a

        telecommunications carrier, an ILEC must grant other telecommunications carriers

        and cable operators access to its poles, even though the ILEC has no rights under

        Section 224 with respect to the poles of other utilities.” 1998 Order, 13 FCC Rcd

        at 6781, ¶ 5 (emphasis added). This was the FCC’s consistent view until 2011 when

        it concluded:

              [ILECs] are entitled to rates, terms and conditions that are “just and
              reasonable” in accordance with section 224(b)(1).

                    We therefore allow [ILECs] to file complaints with the
              Commission challenging the rates, terms and conditions of pole
              attachment agreements with other utilities.

        2011 Order, 26 FCC Rcd at 5328, ¶¶ 202-03. The FCC reasoned that under Section

        224, the terms “telecommunications carrier” and “provider of telecommunications

        service” meant two different things. See id. at 5331-332, ¶¶ 209-211. According to

        the FCC, an ILEC is not a “telecommunications carrier” under Section 224 but is

        nonetheless a “provider of telecommunications service” as the phrase is used within

        the definition of “pole attachments.” Because the FCC’s jurisdiction under Section

        224(b) extends to “the rates, terms and conditions for pole attachments,” the FCC



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        reasoned that it thus has jurisdiction over the rates, terms, and conditions for ILEC

        attachments to electric utility poles. See id.

              The D.C. Circuit—in a facial challenge brought by numerous electric

        utilities—upheld the FCC’s 2011 Order. Am. Elec. Power Serv. Corp. v. FCC, 708

        F.3d 183, 187-88 (D.C. Cir. 2013) (“AEP”). The FCC has used this authority, here,

        to award AT&T significant rate reductions and massive (though incalculable)

        refunds. Importantly, though, the FCC’s jurisdiction does not extend to the rates

        paid by Duke for access to AT&T’s poles. Because of this, the Order below adjusts

        the rate paid by AT&T and purports to order refunds, without addressing the offset

        to the annual net rental calculation—i.e., the rate paid by Duke to AT&T. This case

        presents the first opportunity for a court of appeals to pass judgment on this issue in

        an as-applied context.

              In the 2011 Order, the FCC stated that it was “unlikely to find the rates, terms

        and conditions in existing joint use agreements unjust or unreasonable.” 2011

        Order, 26 FCC Rcd at 5335, ¶ 216 (emphasis added). The FCC applied a different

        standard to “new” joint use agreements—i.e., agreements executed after the release

        of the 2011 Order.       With respect to a “new” agreement, if an ILEC cannot

        demonstrate that it is “similarly situated” to comparable providers (i.e., CATVs and

        CLECs), then the 2011 Order states that it is “reasonable to look to the preexisting,




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        high-end telecom rate [i.e., the Old Telecom Rate] as a reference point in complaint

        proceedings involving a pole owner and an [ILEC]….” Id. at 5336-37, ¶ 218.

              Prior to a subsequent rule change in the 2018 Order, the FCC issued only one

        order addressing a disputed rate under an “existing” joint use agreement: Verizon

        Florida, 30 FCC Rcd 1140 (2015). In Verizon Florida, the FCC rejected an ILEC’s

        complaint that a $36.22 rate was unjust and unreasonable even though it exceeded

        the Old Telecom Rate by nearly 300%. Further, in Verizon Florida, the FCC

        reaffirmed that the Old Telecom Rate serves as a “reference point” only in rate

        disputes arising out of “new” agreements; the FCC specifically rejected reference to

        the Old Telecom Rate in disputes arising out of “existing” agreements. Verizon

        Florida, 30 FCC Rcd at 1149, ¶ 23.

              Verizon Florida also further articulated the evidentiary standard applicable to

        rate disputes involving “existing” joint use agreements under the 2011 Order by

        dismissing an ILEC’s complaint (even where the contractual rates exceeded the Old

        Telecom Rate by more than 300%) because the ILEC had “not produced any

        evidence showing that the monetary value of those advantages is less than the

        difference between the Agreement Rates and the New or Old Telecom Rates over

        time.” See id. at 1149-50, ¶ 24. For purposes of the case at bar, there is no dispute

        that: (a) the joint use agreement at issue is an “existing” agreement and (b) the 2011

        Order governs the rate dispute for the period preceding January 1, 2020.


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        Furthermore, like the complainant in Verizon Florida, AT&T did not “produce[] any

        evidence showing that the monetary value of those advantages is less than the

        difference between the Agreement Rates and the New or Old Telecom Rates over

        time.”

                 In 2018, the FCC revised its rules relating to ILEC complaints against electric

        utilities in two important ways: (1) it flipped the burden of proof to electric utilities;

        and (2) it purported to establish the Old Telecom rate as a “hard cap” for all

        agreements rather than merely a “reference point” for “new” agreements. See 2018

        Order, 33 FCC Rcd at 7767-71, ¶¶ 123-129. The relevant portion of the 2018 Order

        took effect in March 2019.1 The chart below compares the different standards

        applicable to ILEC complaint proceedings under the 2011 Order and 2018 Order:

                                  2011 Order                             2018 Order
            “New”      • No “hard cap” on rate              • Old Telecom Rate serves as a
            Agreements • Old Telecom Rate serves as           “hard cap” on rate
                         “reference point”                  • Burden of proof on electric
                       • Burden of proof on ILEC              utility
            “Existing” • No “hard cap” on rate              • Upon first renewal following
            Agreements • Burden of proof on ILEC              effective date of 2018 Order,
                       • Old Telecom Rate does not            treated as a “new” agreement
                         serve as “reference point”           (see above)
                         (Verizon Florida)
                       • ILEC must demonstrate that
                         “monetary value” of benefits
                         does not justify rate under
                         agreement (Verizon Florida)

        1
         The 2018 Order makes clear that it only applies prospectively. See 2018 Order,
        33 FCC Rcd at 7770, ¶ 127 & n.478.
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                AT&T first requested to renegotiate the rates in the joint use agreement in

        May 2019. At no time prior to May 2019 did AT&T question the rates, despite its

        rights under the 2011 Order. In fact, for each year prior to 2019, AT&T sent its

        “Form 6407” to Duke indicating its agreement with the rates as calculated by Duke.

        [Answer_¶_23]. After receiving the “Form 6407” from AT&T, Duke sent the

        invoice to AT&T for annual rentals. AT&T paid, as invoiced, for all years through

        2020.

                In the complaint proceeding below, the FCC found that the “existing” joint

        use agreement “provides AT&T with benefits that give it a material advantage over

        [CLEC] and [CATV] attachers on the same poles.” [Order_ ¶_14]. The FCC also

        found that AT&T failed to produce “a credible valuation of the advantages that

        AT&T receives under the [joint use agreement].” [Order_¶_26_n.97]. Nevertheless,

        the FCC determined that the rates paid by AT&T pursuant to the joint use agreement

        were unjust and unreasonable based upon a comparison of the rates in the joint use

        agreement to the Old Telecom Rate and the New Telecom Rate. [Order_¶_24].

        Further, the FCC not only used the Old Telecom Rate as a “reference point” for

        determining the rate AT&T should have been charged for the periods governed by

        the 2011 Order, but also applied the Old Telecom Rate as a “hard cap.”

        [Order_¶_26]. In short, the FCC abdicated the standard established by the 2011

        Order and Verizon Florida, even while agreeing that the 2011 Order applied to the
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        period prior to January 1, 2020. In doing so, the FCC created an entirely new

        standard and retroactively applied it to the joint use agreement to award AT&T a

        refund for the period governed by the 2011 Order. 2

              In addition to its retroactive application of a new standard to the period

        governed by the 2011 Order, the Order allocates the cost of the communication

        worker safety zone to Duke for all periods at issue. The communication worker

        safety zone is the separation space—typically 40” at the pole—required by the

        NESC between electric conductors and communications facilities:



                                             SUPP Y SPACE

                                                l
                                         COMMU NICA: ION WORK'ER SAFETY ZONE

                                                t
                                          COMMUNICAlllON SPACE

                                                i           LOWi   T LIN
                                                            COMMUNICATION CABLE
                                                            OR CONDUCTOR




        The communication worker safety zone exists, as its name implies, to protect

        communication workers:



        2
          Depending on yet-to-be-negotiated variables, the Old Telecom Rate for the period
        governed by the 2011 Order is approximately 45% of the contractual rates for the
        same period. Stated otherwise, the contractual rates are approximately 225% higher
        than the Old Telecom Rate.
                                                    9
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              The communication worker safety zone is required between the supply
              space and communication space when communication workers use
              communication work rules, tools, equipment, and methods. The
              communication worker safety zone creates headroom for
              communication workers. When communication workers keep all parts
              of their bodies below the lowest supply facility, this zone allows safe
              working space for communication workers observing communication
              work rules.

        NESC Handbook at 428. The communication worker safety zone has long been

        deemed by the FCC to be part of the presumptive “usable” space on a pole, for

        ratemaking purposes. See 2000 Order, 15 FCC Rcd at 6467-68, ¶¶ 20-22.

              The uncontroverted testimony was that Duke does not need and does not use

        the communication worker safety zone on its own poles. See infra Section II.A.1.

        The FCC’s decision to allocate the cost of this space to Duke was not based upon

        the evidence in this case, but instead on the FCC’s prior findings in other orders that

        the communication worker safety zone is “used” and “usable” by electric utilities.

        See [Order_¶_42]; see also [Order_¶_43 (“Duke attempts to relitigate these rulings

        by suggesting that ‘whether space is usable and used by [Duke]…is an inherently

        factual inquiry’ to be conducted in each dispute. We disagree.”) (alterations in

        original)].

                               SUMMARY OF THE ARGUMENT

                                      The Retroactivity Issue

              The FCC erred in finding that AT&T is entitled to a refund for the portion of

        its claim governed by the 2011 Order (i.e., the portion of AT&T’s refund claim that

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        allegedly accrued before January 1, 2020). In reaching this finding, the FCC did not

        apply the legal standard that governed during the entire period that the 2011 Order

        was in effect (the “prior standard”). Instead, the FCC retroactively applied a new

        standard that directly contradicted the prior standard (the “new standard”).

              For example, under the prior standard, the Old Telecom Rate was neither a

        “hard cap” nor a “reference point” for rate disputes under “existing” joint use

        agreements (i.e., agreements executed prior to the 2011 Order). See 2011 Order, 26

        FCC Rcd at 5336-37, ¶ 218; Verizon Florida, 30 FCC Rcd at 1149, ¶ 23. In the case

        at bar, however, the FCC not only used the Old Telecom Rate as a “reference point”

        but also as a “hard cap” to the rate charged to AT&T under the “existing” agreement.

        [Order_¶¶_26-27]. In addition, under the prior standard, ILECs were required to

        demonstrate that the “monetary value” of the benefits they receive under an

        “existing” joint use agreement does not justify the rates charged thereunder. Verizon

        Florida, 30 FCC Rcd at 1149-50, ¶ 24. There is no dispute that AT&T failed to

        quantify the “monetary value” of the benefits it receives under the “existing”

        agreement. [Order_¶_26_n.97]. But the FCC nonetheless found that AT&T met its

        burden by comparing the rate under the parties’ “existing” agreement to, inter alia,

        the rate it would have paid under the New Telecom Rate and Old Telecom Rate (i.e.,

        precisely what the FCC rejected in Verizon Florida). [Order_¶_24].




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              The FCC’s retroactive application of the new standard was impermissible

        because: (1) the FCC abruptly departed from the prior standard and replaced it with

        a new standard that directly contradicts the prior standard; (2) Duke relied on the

        prior standard because the new standard was not even announced until after the

        period governed by the 2011 Order had already expired; and (3) the FCC’s

        retroactive application of the new standard significantly burdens Duke by saddling

        it with millions of dollars in refund liability for which it would not be responsible

        under the prior standard. See Retail, Wholesale & Department Store Union v. NLRB,

        466 F.2d 380, 390 (D.C. Cir. 1972) (“RWDSU”) (identifying factors for determining

        whether new standard adopted through agency adjudication should be given

        retroactive effect).

              Further, the FCC acted arbitrarily and capriciously by departing from the prior

        standard sub silentio. When Duke directly challenged the unexplained departure

        from the prior standard, the FCC pretended the prior standard never existed, refused

        to acknowledge any departure from the prior standard, and failed to provide a

        reasonable explanation for the change. This is not a reasoned departure from

        previous precedent—instead, it is an example of the FCC attempting to sweep a

        previous standard under the rug.




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                        The Communications Worker Safety Zone Issue

              The FCC also erred in allocating the entire cost of the communication worker

        safety zone to Duke. See [Order_¶¶_42-44]. The FCC ignored uncontroverted

        evidence that Duke does not need and does not use the communications worker

        safety zone and, instead, followed flawed “settled precedent” that is, in any event,

        inapposite to the facts here. The FCC chiefly relies on its 2000 Order finding that it

        is “the presence of the potentially hazardous electric lines that makes the safety space

        necessary and but for the presence of those lines, the space could be used

        by…attachers.” [Order_¶ 42 (citing 2000 Order, 15 FCC Rcd at 6467, ¶ 22)]. As

        it relates to poles owned by electric utilities, this finding is absurd. The whole

        purpose of the “communications worker safety zone,” as its name implies, is to

        protect communications workers from live electrical wires. But for third-party

        communications attachments, Duke would not have a communications worker safety

        zone on its poles.

              Further, much of the precedent upon which the FCC relies arises from rulings

        excusing CATVs from sharing in the cost of the communication worker safety

        zone—reasons that are wholly inapplicable to ILECs. In fact, the FCC orders

        excusing CATVs from any cost of the communication worker safety zone were

        premised upon the fact that the cost of that space was already shared between electric

        and telephone utilities pursuant to joint use agreements, like the agreement at issue


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        here. The FCC also relied on precedent that electric utilities actually use the

        communication worker safety zone “by mounting street light support brackets, step-

        down distribution transformers, and grounded-shielded power conductors therein.”

        1979 Order, 72 F.C.C.2d at 71, ¶ 24.            However, Duke presented testimony

        demonstrating that it does not mount transformers within the communication worker

        safety zone and only rarely mounts streetlights within that space. [Answer_¶_25].

        The FCC cannot ignore the evidence here simply because the FCC decided decades

        ago, on a different record involving different types of entities, that electric utilities

        use the communications worker safety zone. This is akin to finding that a stop light

        was red in a car wreck case simply because a court found the stop light was red in a

        previous case.

                                    The ILEC Jurisdictional Issue

              The FCC also erred in asserting jurisdiction over the joint use rates paid by

        AT&T to Duke. The D.C. Circuit’s decision affirming the FCC’s authority to

        determine just and reasonable rates for ILECs (as first asserted by the FCC in the

        2011 Order) was wrongly decided. See AEP, 708 F.3d at 187-88. And, in any event,

        this Court should not apply that decision under the specific facts here.

              The AEP Court reasoned that Congress did not mean to exclude ILECs from

        the protections of the Act because it used the term “provider of telecommunications

        service” in Section 224(a)(4) (the subsection identifying those entities entitled to the


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        FCC’s protections under the Act), rather than the term “telecommunications carrier,”

        from which Congress expressly excluded ILECs in Section 224(a)(5). However, the

        usual rule that Congress intends different meanings when it uses different words

        applies only where Congress has not otherwise made clear that the two terms are

        interchangeable.

              In Section 224(a)(5), by stating that a “telecommunications carrier” for

        purposes of Section 224 has the meaning given to it in 47 U.S.C. § 153 (which states

        that a “telecommunications carrier” “means any provider of telecommunications

        services”),   Congress       explicitly   provided      that   the   terms   “provider   of

        telecommunications service” and “telecommunications carrier” are interchangeable

        for purposes of Section 224. See 47 U.S.C. § 153(44). Congress’ direct cross-

        reference to Section 153 thus overrides the presumption that Congress typically

        employs different words to connote different meanings.

              Even assuming, arguendo, that AEP was correctly decided (on the facial

        challenge presented), the facts of this as-applied challenge make clear that the FCC

        lacks jurisdiction over the rate paid by AT&T to Duke. Here, under the joint use

        agreement, each party pays the other for use of the other party’s poles. It is

        undisputed that the FCC lacks jurisdiction over the rates paid by Duke to AT&T.

        Congress expressed no intent for the FCC to regulate only one-half of the net rental




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        equation—i.e., the rates paid by AT&T to Duke—while leaving the rates to be paid

        by Duke to AT&T in a “regulatory gap.”

                                    STANDARD OF REVIEW

              Under the APA, final agency action must be set aside if it is “arbitrary,

        capricious, an abuse of discretion, or otherwise not in accordance with law, or if it

        is in excess of statutory jurisdiction, authority, or limitations….” 5 U.S.C. §

        706(2)(A), (C). “The APA’s arbitrary-and-capricious standard requires that agency

        action be reasonable and reasonably explained.” FCC v. Prometheus Radio Project,

        141 S. Ct. 1150, 1158 (2021).        The Court’s “review under the APA is not

        toothless….” Sw. Elec. Power Co. v. EPA, 920 F.3d 999, 1014 (5th Cir. 2019).

        Agency action must be set aside if the agency “entirely failed to consider an

        important aspect of the problem, offered an explanation for its decision that runs

        counter to the evidence before the agency, or is so implausible that it could not be

        ascribed to a difference in view or the product of agency expertise.” Motor Vehicles

        Mfrs. Ass’n of United States v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

        (1983).

              The Court’s review of the FCC’s interpretation of the Act is governed by the

        two-step analysis in Chevron U.S.A., Inc. v. Natural Resources Defense Council,

        Inc., 467 U.S. 837, 842-45 (1984). First, the Court must determine “whether

        Congress has directly spoken to the precise question at issue,” and if so “give effect


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        to the unambiguously expressed intent of Congress” and “reject administrative

        constructions which are contrary to clear congressional intent.” Id. at 842-43. In

        undertaking this step, the Court must employ “the traditional tools of statutory

        construction to ascertain congressional intent.” Chamber of Commerce of the United

        States v. NLRB, 721 F.3d 152, 160 (4th Cir. 2013); see also id. (“We thus look to the

        text of the statute, along with ‘the overall statutory scheme, legislative history, the

        history of evolving congressional regulation in the area, and…other relevant

        statutes.’”).

               Second, if the statute is silent or ambiguous, the Court must decide whether

        the agency’s interpretation is a “permissible construction of the statute.” Chevron,

        467 U.S. at 843. While agencies may change their existing policies, “in doing so,

        they must provide a reasoned explanation for the change.” Jimenez-Cedillo v.

        Sessions, 885 F.3d 292, 298 (4th Cir. 2018) (internal quotation marks omitted). “[A]n

        unexplained inconsistency in agency policy is a reason for holding an interpretation

        to be an arbitrary and capricious change from agency practice.” Encino Motorcars,

        LLC v. Navarro, 579 U.S. 211, 222 (2016) (internal quotation marks omitted).




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                                         ARGUMENT

        I.    By Retroactively Applying a New Standard to AT&T’s Claim for
              Refunds under the 2011 Order, the FCC Acted Arbitrarily, Capriciously,
              and Otherwise Contrary to the Law.

              A. The FCC Changed the Legal Standard for Disputes Governed by the
                 2011 Order After the Period Governed by the 2011 Order Had Already
                 Expired.

              In the 2011 Order, the FCC made clear that it was unlikely to exercise its

        newfound authority with respect to “existing” joint use agreements—i.e.,

        agreements that were executed prior to the release of the 2011 Order. The FCC

        stated:

              Although some [ILECs] express concerns about existing joint use
              agreements, these long-standing agreements generally were entered
              into at a time when [ILECs] concede they were in a more balanced
              negotiating position with electric utilities, at least based on pole
              ownership. As explained above, we question the need to second guess
              the negotiated resolution of arrangements entered into by parties with
              relatively equivalent bargaining power. Consistent with the foregoing,
              the Commission is unlikely to find the rates, terms and conditions in
              existing joint use agreements unjust or unreasonable.

        2011 Order, 26 FCC Rcd at 5335, ¶ 216.

              The 2011 Order established a different standard applicable to “new” joint use

        agreements—i.e., agreements executed after the release of the 2011 Order. If the

        “new” joint use agreement does not provide the ILEC with a competitive advantage,

        then the 2011 Order explains that “competitive neutrality counsels in favor of

        affording [the ILEC] the same rate as the comparable provider….” Id. at 5336, ¶

        217. If, on the other hand, a “new” agreement provides the ILEC with competitive
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        advantages, then the 2011 Order states that it is “reasonable to look to the [Old

        Telecom Rate] as a reference point in complaint proceedings involving a pole owner

        and an [ILEC]….” Id. at 5336-37, ¶ 218. Finally, regardless whether the agreement

        at issue is “existing” or “new,” the 2011 Order makes clear that the ILEC bears the

        burden of demonstrating that the rate it pays under the joint use agreement is not

        “just and reasonable.” See id. at 5334-37, ¶¶ 215-18.

              For purposes of this case, the parties agree that the 2011 Order governs the

        rate dispute during the period preceding January 1, 2020. See [Order_¶_17]. During

        this timeframe, the FCC issued only one decision addressing a disputed rate under

        an “existing” joint use agreement: Verizon Florida. In Verizon Florida, the FCC

        rejected an ILEC’s complaint that a $36.22 rate was unjust and unreasonable even

        though it exceeded the Old Telecom rate by nearly 300%. There are two critical

        takeaways from Verizon Florida. First, the FCC reaffirmed that the Old Telecom

        Rate serves as a “reference point” only in disputes arising out of “new”

        agreements—not “existing” agreements:

              In support of applying the Old Telecom Rate, Verizon cites the Order’s
              statement that the Commission would consider the Old Telecom Rate
              “as a reference point” when determining a just and reasonable
              attachment rate for a “new agreement” between an [ILEC] and a utility.
              The agreement at issue here is not a new agreement. It is “an
              historical joint use agreement,” which the Commission repeatedly
              distinguished from “new agreements.”




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        Verizon Florida, 30 FCC Rcd at 1149, ¶ 23 (italics in original; bold/underline

        added). Second, Verizon Florida further defined the evidentiary standard applicable

        to disputes involving “existing” joint use agreements:

              [W]e find that Verizon has adduced insufficient evidence to support a
              finding that the Agreement Rates are unreasonable, or for the
              Commission to set a just and reasonable rate. Verizon concedes that it
              received and continues to receive benefits under the Agreement that are
              not provided to other attachers, but it has not produced any evidence
              showing that the monetary value of those advantages is less than the
              difference between the Agreement Rates and the New or Old Telecom
              Rates over time…. Absent such evidence, we are unable to determine
              whether the Agreement Rates are just and reasonable.

        See id. at 1149-50, ¶ 24. In other words, the FCC determined that to succeed in a

        rate dispute involving an “existing” agreement under the 2011 Order where the

        agreement provides competitive advantages to the ILEC, the ILEC must demonstrate

        that the “monetary value” of those competitive advantages does not justify the rate

        the ILEC is charged under the joint use agreement.

              In the case at bar, the FCC found that the parties’ “existing” joint use

        agreement “provides AT&T with benefits that give it a material advantage over

        [CLEC] and [CATV] attachers on the same poles.” [Order_¶_14]. The FCC also

        found that AT&T failed to produce “a credible valuation of the advantages that

        AT&T receives under the [joint use agreement].” [Order_¶_26_n.97]. Under

        Verizon Florida, that should have ended the inquiry with respect to the period

        governed by the 2011 Order. However, instead of finding AT&T’s failure to


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        produce “credible valuation” evidence to be fatal to its claim under the 2011 Order,

        as it had done in Verizon Florida, the FCC applied an entirely different evidentiary

        standard. In the Order below, the FCC stated:

                     The Bureau correctly found that AT&T established a prima facie
              case that the [joint use agreement] rates are unreasonable. The ruling
              was based in part on evidence that the [joint use agreement] rates are:
              (1)            higher than both the Old and New Telecom Rates; (2)
                         higher than the rates that AT&T charges competitive LECs
              and cable companies to attach to AT&T’s poles; and (3)
              disproportionate to the amount of space AT&T and Duke each uses on
              the poles.

        [Order_¶_24]. This finding does not just depart from Verizon Florida—it directly

        conflicts with Verizon Florida. See 30 FCC Rcd at 1140-41, ¶¶ 2-3 (finding that

        ILEC failed to meet its burden of proof under the 2011 Order by comparing the rate

        it paid under an “existing” agreement with the rate it would have paid under either

        the Old Telecom Rate or New Telecom Rate formulas).

              Second, in the case at bar, the FCC used the Old Telecom Rate as a “hard cap”

        for determining the rate AT&T should have been charged for the periods governed

        by the 2011 Order. [Order_¶¶_26-27]. But the 2011 Order and Verizon Florida

        make clear that the Old Telecom Rate serves as a “reference point” only in rate

        disputes involving “new” agreements—not “existing” agreements. See 2011 Order,

        26 FCC Rcd at 5336-37, ¶ 218 (noting that the Old Telecom Rate only serves as a

        “reference point” for “new” joint use agreements); Verizon Florida, 30 FCC Rcd at

        1149, ¶ 23. Nevertheless, the FCC determined that AT&T was entitled to a refund
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        of the amount AT&T paid in excess of the Old Telecom Rate for the period governed

        by the 2011 Order. See [EB_Order_¶_64].

                 B. The Retroactive Application of the FCC’s New Legal Standard to Rate
                    Disputes Governed by the 2011 Order Is Impermissible.

                 Had the FCC applied the prior standard, as established in the 2011 Order and

        as further articulated in Verizon Florida, the FCC would have dismissed AT&T’s

        claim for relief under the 2011 Order. Instead, the FCC retroactively applied a new

        legal standard—one that was formulated after the period governed by the 2011

        Order had already expired. The chart below provides a contrast of those standards

        with respect to “existing” agreements under the 2011 Order:

                         Prior Standard                                New Standard
            • Burden of proof on ILEC                    • Ostensibly placed burden of proof on
            • ILEC must demonstrate that “monetary         ILEC but…
              value” of benefits does not justify rate   • Used Old Telecom Rate as “reference
              under agreement (Verizon Florida)            point” in determining ILEC met its
            • Old Telecom Rate does not serve as           burden of proof
              “reference point” (Verizon Florida)        • Did not require ILEC to demonstrate
            • No “hard cap” on rate                        that “monetary value” of benefits did
                                                           not justify rate under agreement
                                                         • Applied Old Telecom Rate as “hard
                                                           cap” on rate

        The FCC’s retroactive application of a new legal standard to AT&T’s refund claim

        under the 2011 Order is impermissible and should be set aside. 3


        3
         The retroactivity issue is not immediately apparent in the FCC’s Order because, as
        explained in Section I.C. infra, the FCC refused to acknowledge in the Order that it
        applied a different standard than existed during the period governed by the 2011
        Order.
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              Courts weigh five factors when determining whether it is permissible to give

        a new rule or policy adopted through an agency adjudication retroactive effect:

              (1) whether the particular case is one of first impression, (2) whether
              the new rule represents an abrupt departure from well established
              practice or merely attempts to fill a void in an unsettled area of law, (3)
              the extent to which the party against whom the new rule is applied relied
              on the former rule, (4) the degree of the burden which a retroactive
              order imposes on a party, and (5) the statutory interest in applying a
              new rule despite the reliance of a party on the old standard.

        RWDSU, 466 F.2d at 390; see ARA Servs. v. NLRB, 71 F.3d 129, 135 (4th Cir. 1995)

        (applying the RWDSU factors to determine whether it was permissible for a new

        standard adopted during an adjudication to be given retroactive effect). Whether a

        new standard should be applied retroactively is a “question of law, resolvable by

        reviewing courts with no overriding obligation of deference to the agency decision;

        and courts have not infrequently declined to enforce administrative orders when in

        their view the inequity of retroactive application has not been counterbalanced by

        sufficiently significant statutory interests.” RWDSU, 466 F.2d at 390 (internal

        citation omitted).

              The RWDSU factor that “has been given primary importance” is whether the

        new rule represents an “abrupt break with well settled policy or is merely an attempt

        to fill an unsettled area of the law.” ARA Servs., 71 F.3d at 135 (internal quotation

        marks omitted).       “[N]otions of equity and fairness militate strongly against

        retroactive application of [an agency’s] substitution of a new law for old law that
                                                  23
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        was reasonably clear.” Epilepsy Found. v. NLRB, 268 F.3d 1095, 1102 (D.C. Cir.

        2001) (internal citations and quotation marks omitted). The prior standard under the

        2011 Order and Verizon Florida was clear. In determining that AT&T met its

        burden of proof, though, the FCC entirely neglected the prior standard. Instead, the

        FCC determined that AT&T met its burden by comparing the rate under the

        “existing” agreement to, inter alia, the rate it would have paid under the Old

        Telecom Rate and New Telecom Rate formulas. See [Order_¶_24]. In other words,

        the FCC found that AT&T met its burden of proof by doing the exact same thing as

        the unsuccessful ILEC complainant in Verizon Florida.

              The RWDSU factors also look at “the extent to which the party against whom

        the new rule is applied relied on the former rule.” RWDSU, 466 F.2d at 390. This

        factor also weighs against retroactive application of the FCC’s new standard. The

        2011 Order governed any rate disputes between the parties from June 8, 2011 (i.e.,

        the effective date of the 2011 Order) through December 31, 2019. The FCC first

        applied the new standard (without identifying it as such) on May 20, 2020—i.e., well

        after the period governed by the 2011 Order expired. See Florida Power & Light,

        35 FCC Rcd 5321, 5327-5331 at ¶¶ 13-17 (finding that AT&T met its burden of

        proof under the 2011 Order, even though it did not quantify the “monetary value”

        of the benefits it received under its “existing” joint use agreement). The 2011 Order


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        and Verizon Florida were the only guidance provided by the FCC regarding

        “existing” agreements during the period governed by the 2011 Order. Because the

        FCC made it clear that it “was unlikely to find the rates…in existing joint use

        agreements unjust or unreasonable,” because the FCC imposed a relatively high

        evidentiary standard on ILECs challenging rates within “existing” agreements, and

        because the FCC made clear that the Old Telecom Rate was not a “reference point”

        (let alone as a “hard cap”) for rates under “existing” agreements, Duke had no reason

        to question the reasonableness of the negotiated rate within the parties’ “existing”

        joint use agreement or mitigate against potential refund liability for periods governed

        by the 2011 Order.4 Thus, this is a case “in which some new liability is sought to

        be imposed on individuals for past actions which were taken in good-faith reliance

        on [the FCC’s] pronouncements.” NLRB v. Bell Aerospace Co. Div. of Textron, Inc.,

        416 U.S. 267, 295 (1974).

              Next, the RWDSU factors look at “the degree of the burden which a retroactive

        order imposes on a party.” RWDSU, 466 F.2d at 390. The FCC’s retroactive




        4
          For all it appears, AT&T also thought the agreement rates were consistent with the
        2011 Order. AT&T did not even request to renegotiate rates until May 22, 2019.
        See [Answer_Exh._A_DEP000257]. Moreover, AT&T not only submitted payment
        to Duke without objection each year until 2019, but AT&T also expressly affirmed
        the correctness of the rate each year through the submission of a “Form 6407.” See
        id.
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        application of the new standard has imposed a significant financial burden on Duke.5

        In particular, it has saddled Duke with millions of dollars of refund liability for the

        period governed by the 2011 Order—refund liability that would not have existed

        under the prior standard.

              The RWDSU factors also ask, “whether the particular case is one of first

        impression.” RWDSU, 466 F.2d at 390. “[B]y granting the benefit of a change in

        the law to those whose efforts may have helped bring about the change, retroactive

        application of a new principle encourages parties to ‘advance new theories

        or…challenge outworn doctrines.’”). Clark-Cowlitz Joint Operating Agency v.

        FERC, 826 F.2d 1074, 1082 (D.C. Cir. 1987). This is not a case of first, but of

        fourth impression. See Florida Power & Light, 35 FCC Rcd 5321 (applying new

        standard for first time); accord Potomac Edison, 35 FCC Rcd 13607; Duke Energy

        Florida, 2021 FCC LEXIS 3240. Moreover, AT&T did not “advance new theories”

        or “challenge outworn doctrines” in the underlying complaint proceeding: the




        5
          See Petition_for_Reconsideration_pp._23-24 (explaining that because Duke had
        no reason to question the rate under the parties’ “existing” agreement, under
        generally accepted accounting principles (GAAP), Duke could not reserve for the
        contingent liability of refunds for the period governed by the 2011 Order) (citing
        Ex Parte Letter from Dan Woodall, Director of Customer Delivery Grid & Asset
        Programs, Duke Energy Corporation, to Marlene Dortch, Secretary, FCC,
        Accelerating Wireline Broadband Deployment by Removing Barriers to
        Infrastructure Investment, WC Docket No. 17-84, at 5-6 (filed Aug. 23, 2021)).
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        change in standard was an unearned gift from the FCC. Accordingly, this factor

        weighs against retroactive application of the FCC’s new standard.

              The final factor under RWDSU is “the statutory interest in applying a new rule

        despite the reliance of a party on the old standard.” RWDSU, 466 F.2d at 390. There

        is minimal statutory interest in retroactively applying the new standard. The new

        standard lowers the threshold for refund claims under the 2011 Order. The Act,

        however, does not mention refunds or provide the FCC with express authority to

        give retroactive effect to new rules or policies. In fact, the FCC long interpreted the

        Act as allowing only prospective, as opposed to retroactive, relief. See 47 C.F.R. §

        1.1410(c) (1981) (allowing refunds, but only “from the date the complaint, as

        acceptable, was filed”); 1978 Order, 68 F.C.C.2d 1585, 1600 at ¶ 45 (rejecting calls

        for refunds for periods predating filing of a complaint and stating that “refunds from

        the date of the complaint are entirely appropriate in a complainant form of

        regulation”). Moreover, as discussed in Section III infra, the FCC’s authority over

        the rates for AT&T’s use of Duke’s poles is questionable. See ARA Servs., 71 F.3d

        at 136 (“It is enough to note that there exists a question as to the new standard’s

        statutory validity, a factor that weighs against its retroactive application.”).

              C. The FCC Departed from Its Prior Standard Sub Silentio.

              “Agencies are free to change their existing policies as long as they provide a

        reasoned explanation for the change.” Encino Motorcars, LLC, 579 U.S. at 221; see


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        also Motor Vehicles Mfrs. Ass’n, 463 U.S. at 43 (stating that an agency “must

        examine the relevant data and articulate a satisfactory explanation for its action

        including a rational connection between the facts found and the choice made”)

        (internal quotation marks omitted). When an agency changes its existing position,

        it “must at least ‘display awareness that it is changing position’ and ‘show that there

        are good reasons for the new policy.’” Encino Motorcars, LLC, 579 U.S. at 221

        (quoting FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)). There are

        instances, however, when a change in an agency’s position requires a more detailed

        justification: “when, for example, its new policy rests upon factual findings that

        contradict those which underlay its prior policy; or when its prior policy has

        engendered serious reliance interests that must be taken into account.”           Fox

        Television Stations, Inc., 556 U.S. at 515 (citing Smiley v. Citibank (South Dakota),

        N.A., 517 U.S. 735, 742 (1996)).

              The FCC has not provided adequate reasons, let alone a detailed justification,

        for changing the standard it applies to rate disputes under “existing” joint use

        agreements for periods governed by the 2011 Order. In fact, the FCC has not even

        “display[ed] awareness” that it has changed the standard. Instead, beginning with

        the Florida Power & Light decision, the FCC—sub silentio—simply: (1) stopped

        requiring ILECs to demonstrate that the “monetary value” of the benefits they

        receive under “existing” joint use agreements is less than the difference between the


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        rates charged under their “existing” agreements and the rates they would have been

        charged under the Old Telecom Rate Formula; and (2) started capping rates under

        “existing” agreements at the Old Telecom Rate. See Florida Power & Light, 35

        FCC Rcd 5321, 5327-5331 at ¶¶ 13-17 (applying new standard for first time); accord

        Potomac Edison, 35 FCC Rcd 13607; Duke Energy Florida, 2021 FCC LEXIS 3240.

        And even after Duke squarely challenged the new standard in its petition for

        reconsideration, see [Petition_for_Reconsideration_pp._2-6], the FCC failed to

        provide a reasonable, let alone detailed, justification for switching from the prior

        standard to the new standard.

              In dispensing with the evidentiary burden under the prior standard, the FCC

        stated:

                     We reject Duke’s further contention that in order to establish that
              the [joint use agreement] rates are unjust and unreasonable, AT&T had
              to prove that the “‘monetary value of the benefits under the [joint use
              agreement] does not justify the difference between the ‘rate’ AT&T
              paid under the [joint use agreement] and the Old Telecom Rate.’” To
              support that position, Duke relies on the Bureau’s decision in Verizon
              Florida. But as we recently explained, to the extent Verizon Florida
              “can be read to require a party in a pole attachment complaint
              proceeding…to quantify the value of individual benefits an [ILEC]
              receives under a joint use agreement, we reject that interpretation as
              impracticable, especially in the absence of any rules prescribing a
              methodology for valuing such benefits.’”

        [Order_¶_25]. Instead of acknowledging and providing a reasoned explanation for

        its departure from the prior evidentiary standard, the FCC instead framed the

        requirement that ILECs quantify the “monetary” value of the benefits they receive
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        under “existing” agreements as but one possible interpretation of Verizon Florida.

        This is an untenable position. Verizon Florida explicitly found that, without a

        valuation of the benefits the ILEC received under the “existing” agreement, the FCC

        could not: (1) determine whether the rate under the joint use agreement was

        unreasonable; or (2) otherwise “set a just and reasonable rate.” Verizon Florida, 30

        FCC Rcd at 1140-41, ¶¶ 2-3. This finding was not dicta—it was dispositive of the

        ILEC’s complaint in Verizon Florida. The FCC has not explained how it can now

        determine the “justness and reasonableness” of a rate under an “existing” agreement

        without a quantification of the “monetary value” of the benefits that an ILEC

        receives thereunder.

              With respect to applying the Old Telecom Rate (as both a “reference point”

        and a “hard cap”), the FCC stated:

                     First, Duke maintains that the Old Telecom Rate may not serve
              as a reference point for existing joint use agreements that pre-date the
              2011 Order. We disagree. In Verizon Maryland, the Commission, as
              here, addressed an existing joint use agreement executed before the
              2011 Order that provided the [ILEC] with material advantages over
              competitive attachers. The Commission noted that “the 2011 Order
              indicates that the Commission would look to the Old Telecom Rate in
              complaint proceedings involving a new agreement between an [ILEC]
              and pole owner when the [ILEC] is not ‘similarly situated’ to
              competitive LECs or cable attachers on the same poles.” It then decided
              to “apply this guidance” to the case before it, and ruled that the [ILEC]
              was “entitled to a rate no greater than the Old Telecom Rate for
              the…timeframe…covered by the 2011 Order.




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        [Order_¶_27 (italics in original)]. As noted above, the FCC glossed over the fact

        that its application of the Old Telecom Rate as a “reference point” to the parties’

        “existing” agreement represented a stark departure from the 2011 Order, which

        made clear that the Old Telecom Rate only served as a “reference point” for “new”

        agreements.     In addition, in lieu of providing a reasoned explanation for its

        application of the Old Telecom Rate as a “reference point,” the FCC stated:

                    The Commission explained in the 2011 Order that “identify[ing]
              a specific rate to be used as a reference point” in complaint proceedings
              would “enable better informed pole attachment negotiations” and
              “provide[] parties clearer expectations regarding the potential outcomes
              of formal complaints.” The Commission found “it more administrable
              to look to [the Old Telecom Rate], which historically has been used in
              the marketplace, than to attempt to develop in this Order an entirely
              new rate for this context.”

        [Order_¶_28 (alterations in original)]. In other words, the FCC sought to explain its

        application of the Old Telecom Rate as a “reference point” and “hard cap” on the

        rate charged under the parties’ “existing” agreement through liberal quotation of a

        portion of the 2011 Order that established the Old Telecom Rate as a “reference

        point” solely for “new” agreements.

              Because the FCC’s new standard “cannot carry the force of law,” Encino

        Motorcars, LLC, 579 U.S. at 224, and because the FCC’s factual findings

        demonstrate that AT&T is not entitled to relief under the 2011 Order, see

        [Order_¶_26_n.97], the Court should set aside the FCC’s determination that AT&T

        is entitled to a refund for the period governed by the 2011 Order.
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        II.   The FCC Violated Section 224, Misapplied Its Own Precedent, and Acted
              Arbitrarily and Capriciously by Assigning the Cost of the
              Communication Worker Safety Zone to Duke.

              The communication worker safety zone is the separation space—typically

        40”—between electric conductors and communications facilities required by the

        NESC. As its name implies, the communication worker safety zone exists for the

        protection of communication workers:

              The communication worker safety zone is required between the supply
              space and communication space when communication workers use
              communication work rules, tools, equipment, and methods.

        NESC Handbook at 428. The uncontroverted testimony establishes that: (1) Duke

        does not need the communication worker safety zone on its own poles; and (2) the

        communication worker safety zone would not exist on Duke’s poles but for the

        presence of communication attachments. See infra, Section II.A.1.

              The Order, though, allocates the entire cost of the communication worker

        safety zone to Duke. See [Order_¶¶_42-44]. The FCC’s basis for this allocation has

        nothing to do with the evidence in this case. Instead, the FCC based its decision on

        its prior findings in other orders that the communication worker safety zone is “used

        and usable” by electric utilities. See [Order_¶¶_42-44]; see also [Order_¶_43

        (“Duke attempts to relitigate these rulings by suggesting that ‘whether space is

        usable and used by [Duke]…is an inherently factual inquiry’ to be conducted in each

        dispute. We disagree.”) (alteration in original)]. Though it is questionable whether


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        the FCC’s prior orders constituted rational agency decision-making, those prior

        orders have minimal bearing on the question of whether it was proper to allocate the

        cost of the communication worker safety zone to Duke in this case.

              A. The Decision to Allocate the Cost of the Communication Worker
                 Safety Zone to Duke Is at Odds with Foundational FCC Authority and
                 the Act.

                     1. The Justifications Underpinning the FCC’s Historical Refusal
                        to Allocate the Communication Worker Safety Zone to CATVs
                        Do Not Apply to AT&T.

           The Order, in rejecting Duke’s argument, simply relied upon what it deemed to

        be “settled precedent.” See [Order_¶_42]. The Order states, in relevant part:

              In 2000, the Commission explained that the cost of the space is
              attributed to the utility because “[i]t is the presence of the potentially
              hazardous electric lines that makes the safety space necessary and but
              for the presence of those lines, the space could be used by . . . attachers.”
              Because the safety space “would otherwise be usable space” but for the
              presence of the electric lines, the Commission held that “the safety
              space is effectively usable space occupied by” the electric lines. The
              Commission affirmed this holding on reconsideration in 2001.

        [Order_¶_42 (alterations in original)]. There are at least three major flaws with this

        analysis.

              First, it is not rational agency decision-making to find that the communication

        worker safety zone would be usable “but for the presence of the electric lines.” The

        space is only required on Duke’s poles because of communications facilities. See

        [Answer_¶_25].       But for the presence of communications facilities, the



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        communication worker safety zone would not exist on Duke’s poles.               See

        [Answer_Exh._A_DEP00252]; [Answer_Exh._C_DEP000296-297].

              Second, the “settled precedent” upon which the FCC relies is inapposite. In

        1979, shortly after Congress passed the Pole Attachments Act, the FCC issued an

        order addressing the communication worker safety zone. See 1979 Order, 72

        F.C.C.2d 59, 70-71 at ¶¶ 22-25. The FCC found that “all users benefit from the

        inclusion of” the communication worker safety zone, and therefore, requiring all

        users to share in the cost of the communication worker safety zone “may seem at

        first blush to be an equitable approach.” Id. at 70, ¶ 24. Nevertheless, the FCC

        ultimately determined that CATVs—the only type of entity protected by the Pole

        Attachments Act at that time—should not bear the cost of the communication worker

        safety zone for three specific reasons.

              The first reason turned on the language of the Act addressing how the rate for

        CATVs should be calculated: “Section 224(d)(1) of the Act specifies that the

        maximum just and reasonable pole attachment rate shall be determined by

        ‘multiplying the percentage of total usable space…which is occupied by the pole

        attachment…by the sum of operating expenses and actual capital costs of the utility

        attributable to the entire pole….’” Id. (quoting 47 U.S.C. § 224(d)(1)) (emphasis in

        original). Thus, even though the FCC acknowledged that CATVs benefitted from

        the communication worker safety zone, because CATVs did not physically occupy


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        the communication worker safety zone, the FCC found that it could not allocate any

        of the communication worker safety zone to CATVs under Section 224(d)(1). As an

        ILEC, however, AT&T is not entitled to a rate calculated pursuant to Section

        224(d)(1). To the extent AT&T is entitled to a regulated rate at all, it would be a rate

        calculated pursuant to Section 224(e). Section 224(e)—unlike 224(d)(1)— does not

        limit the amount of usable space that can be allocated to an entity based on the space

        it actually occupies. Section 224(e)(3) states: “A utility shall apportion the cost of

        providing usable space among all entities according to the percentage of usable space

        required for each entity.” 47 U.S.C. § 224(e)(3) (emphasis added). The space

        “required for” an entity is less restrictive than the space “occupied by” an entity. In

        other words, the alleged statutory constraints underlying the 1979 Order are not

        applicable to rates calculated pursuant to Section 224(e).

              The second reason for not allocating the communication worker safety zone

        to CATVs was the FCC’s finding that CATVs generally bore the cost of ensuring the

        presence of the communication worker safety zone. Specifically, the FCC found that

        CATVs—through their license agreements with electric utilities and telephone

        companies—were “responsible for all pole replacement costs necessitated by

        subsequent installation of additional electric or telephone lines that reduce available

        safety space to less than 40 inches.” Id. at 71, ¶ 24. This rationale does not apply to

        AT&T because the “risk of maintaining the [communication worker safety zone]


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        falls on either Duke or a subsequent attaching entity who is required to pay for make-

        ready in order to maintain the [communication worker safety zone].”

        [Answer_¶_25].6

              The third reason for not allocating the communication worker safety zone to

        CATVs was that the FCC found—based on the record before it—that it was “the

        common practice of electric utility companies to make resourceful use of [the

        communication worker safety zone] by mounting street light support brackets, step-

        down distribution transformers, and grounded-shielded power conductors therein.”

        1979 Order, 72 F.C.C.2d at 71, ¶ 24. However, the record in this proceeding makes

        clear that Duke does not make “common” or “resourceful use” of the communication

        worker safety zone. See [Answer_Exh._A_DEP00252 (“[Duke] does not need and

        does not use the safety space on its own poles.”)]; [Answer_Exh._C_DEP00296].

              Duke presented testimony showing that it does not mount transformers within

        the communication worker safety zone.           See [Answer_Exh._C_DEP00297].

        Further, Duke presented evidence showing that: (1) streetlights do not require—and

        can be mounted outside of—the communication worker safety zone; and (2) the

        practice of mounting of streetlights within the communication worker safety zone is

        rare (and certainly not “common”).              See [Answer_Exh._C_DEP00297].


        6
          AT&T never disputed the fact that—due to the joint use agreement—it was not
        required to bear the cost of ensuring the presence of the communication worker
        safety zone.
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        Extrapolating Duke’s installation of streetlights within the communication worker

        safety zone on a handful of poles into a finding that Duke uses the communication

        worker safety zone on all 179,000 poles in the parties’ joint use network is a textbook

        case of arbitrary agency action. See [Answer_¶_3]. Moreover, neither AT&T nor

        the FCC contends that the presence of vertical shielded conductors in the

        communication worker safety zone constitutes utilization of that space. 7 On this

        record, it was arbitrary and capricious for the FCC to assign the entire 40” (3.33 feet)

        of communication worker safety zone to Duke.

                     2. The FCC Misapplied Its Own Precedent, Which Is Premised on
                        the Fact that ILECs and Electric Utilities Historically Shared
                        the Cost of the Communication Worker Safety Zone Under
                        Joint Use Agreements.

              The FCC’s original decision to excuse CATVs from sharing in the cost of the

        communication worker safety zone was based, in part, on the fact that the cost of

        this space was already addressed in joint use agreements: “In joint-use agreements

        that involve the assignment of muniments of ownership and use between electric and

        telephone utilities, sharing responsibility for the safety space may be an issue.” See

        1979 Order, 72 F.C.C.2d at 71, ¶ 25. Following the 1979 Order, the ILECs (then

        known simply as “telephone companies”) sought reconsideration of the FCC’s



        7
          If the presence of vertical shielded conductors constituted “use” of space, then
        communications attachments with risers to the bottom of the pole would, in effect,
        be “using” the entire pole. See [Answer_¶_25_&_n.114].
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        treatment of the communication worker safety zone, arguing that it required them to

        bear the entire cost of the communication worker safety zone on their poles. The

        FCC rejected the ILECs’ request for reconsideration and stated:

              [A]s the record shows, telephone companies in the past have worked
              out their own agreements with the electric companies as to how much
              of the remaining space is to be allocated to each utility. Under these
              circumstances, the claim by telephone companies that they are bearing
              responsibility for the entire safety space is simply untenable.

        1980 Order, 77 F.C.C.2d 187, 190 at ¶ 9. In other words, a significant part of the

        FCC’s original rationale for not assigning any part of the communication worker

        safety zone to CATVs was the fact that the cost of this space was already shared in

        joint use agreements between telephone companies and electric utilities. It is the

        ultimate regulatory bootstrap to excuse AT&T from any cost of the communication

        worker safety zone based upon authority that was premised upon AT&T’s obligation

        to share in the cost of the communication worker safety zone.

                    3. The FCC’s Decision to Not Allocate Any Portion of the
                       Communication Worker Safety Zone to AT&T Is Premised on
                       an Erroneous Interpretation of the Act.

              In refusing to allocate any portion of the communication worker safety zone

        to AT&T, the FCC stated: “[A]ttributing a share of the [communication worker

        safety zone] to AT&T…lacks merit because ‘under the Commission’s rate formula,

        space occupied means space that is actually occupied, and AT&T’s attachments do

        not actually occupy the [communication worker safety zone].’” [Order_¶_42_n.158


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        (citing Florida Power & Light, 35 FCC Rcd at 5330, ¶ 16)]. However, as explained

        above, this “actual occupancy” concept is statutorily confined to Section 224(d)(1),

        which applies only to CATV attachments—it does not apply to ILEC attachments.

              To the extent AT&T is entitled to a regulated rate at all, AT&T would only be

        entitled to the Section 224(e) rate. The Act prescribes a different methodology for

        allocating usable space under Section 224(e):

              A utility shall apportion the cost of providing usable space among all
              entities according to the percentage of usable space required for each
              entity.

        47 U.S.C. § 224(e)(3) (emphasis added). Notably, Section 224(e)(3)—in contrast

        to Section 224(d)—does not tie the allocation of usable space to the amount of space

        “occupied by” an attachment. Section 224(e)(3) ties the allocation of usable space

        to the amount of usable space “required for” an attachment. This divergence in

        statutory language matters.    Even if AT&T does not physically “occupy” the

        communication worker safety zone, this space is nonetheless “required” by the

        presence of communications attachments on Duke’s poles. Applying the correct

        statutory language necessitates that AT&T pay for at least a portion of the

        communication worker safety zone, and the FCC erred in finding otherwise.




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        III.   The FCC’s Exercise of Jurisdiction Over the Rates AT&T Pays Duke
               under the Joint Use Agreement is Ultra Vires and/or Arbitrary and
               Capricious.
               A. The Act Does Not Apply to ILEC Attachments on Electric Utility
                  Poles.

                     1. The D.C. Circuit’s Decision in AEP v. FCC Was Wrong.

               In 2013, the D.C. Circuit upheld “the Commission’s view that ILECs are

        ‘providers of telecommunications services’ for purposes of § 224(a)(4)” even

        though:    (1)   ILECs       are   expressly    excluded   from    the   definition   of

        “telecommunications carrier” in Section 224(a)(5); (2) Section 224(a)(5) expressly

        incorporates the definition of “telecommunications carrier” found in Section

        153(51); and (3) Section 153(51) provides that “[t]he term ‘telecommunications

        carrier’ means ‘any provider of telecommunications services.’” AEP, 708 F.3d at

        188; 47 U.S.C. §§ 153(51), 224(a)(4)-(5). The D.C. Circuit cited two reasons for

        upholding the FCC’s assertion of jurisdiction.

               First, the D.C. Circuit found that petitioners erred because:

               They take the first definition, § 153(51), and insert into it § 224(a)(5)’s
               exclusion of ILECs, but fail to note that § 153(51) is the general
               definition of telecommunications carrier, not the one tailored to § 224.
               Thus, they take § 153(51)’s equation TC = PTS and claim to find
               TC224 = PTS. But Congress never said the latter.

                                                did say: “For purposes of [Section 224],
        AEP, 708 F.3d at 187. Congress, though, ---

        the term ‘telecommunications carrier’ (as defined in §153 of this title) does not

        include any incumbent local exchange carrier as defined in section 251(h) of this

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        title.” 47 U.S.C. § 224(a)(5). Because of the cross-reference to Section 153 in

        Section 224(a)(5), for purposes of Section 224, the terms “telecommunications

        carrier” and “provider of telecommunications service” are interchangeable. Thus,

        the exclusion of ILECs from the term “telecommunications carrier” necessarily

        excludes them from the term “provider of telecommunications service” for purposes

        of Section 224. See Port Auth. of N.Y. & N.J. v. DOT, 479 F.3d 21, 32 (D.C. Cir.

        2007) (“It can hardly have been Congress’s intention to include this cross-

        reference…only to have the DOT disregard the definition. Thus, the cross-

        reference…is determinative….”); Halbig v. Sebelius, 27 F. Supp. 3d 1, 23 (D.D.C.

        2014) (finding that cross-referenced sections in statutory language at issue made “the

        intent of Congress…clear at Chevron step one.”).

              The synonymity of the terms “telecommunications carrier” and “provider of

        telecommunications service” has been recognized by the Supreme Court. See NCTA

        v. Brand X, 545 U.S. 967, 977 (2005) (noting that “‘[t]elecommunications

        carrier[s]’—those subjected to mandatory Title II common-carrier regulation—are

        defined as ‘provider[s] of telecommunications services’”) (alterations in original)

        (quoting 47 U.S.C. § 153). Specifically in the pole attachment context, courts have

        used the two terms interchangeably. See, e.g., Southern Co. v. FCC, 293 F.3d 1338,

        1342 n.1 (11th Cir. 2002) (“The 1996 Telecommunications Act added

        telecommunications carriers to the class of entities entitled to regulated rates for pole


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        attachments and granted them the same access rights given cable companies.”).

        Further, from the adoption of the 1996 Act until its about-face in the 2011 Order,

        the FCC consistently and repeatedly read the terms “telecommunications carrier”

        and “provider of telecommunications” service as synonymous. See 1998 Order, 13

        FCC Rcd at 6781, ¶ 5 (“Because, for purposes of Section 224, an ILEC is a utility

        but is not a telecommunications carrier…the ILEC has no rights under Section 224

        with respect to the poles of other utilities.”); 2007 NPRM, 22 FCC Rcd at 20204, ¶

        23 (“[T]he Commission interpreted the exclusion of [ILECs] from the term

        ‘telecommunications carrier’…to mean that section 224 does not apply to

        attachment rates paid by [ILECs].”).

              Second, the D.C. Circuit reasoned:

                     Congress’s uses of the two terms (telecommunications carrier,
              provider of telecommunications services) conform readily to the
              understanding we have just sketched out. Section 224(a)(4), defining
              pole attachment to include an attachment by a “provider of
              telecommunications services,” is cheek by jowl with § 224(a)(5), with
              its restricted definition of telecommunication carrier. This proximity
              suggests an entirely intentional character in § 224(a)(4)’s use of the
              broader term.

        AEP, 708 F.3d at 187. However, the usual rule that Congress intends different

        meanings when it uses different words applies only where Congress has not

        otherwise made clear that the two terms are interchangeable. For example, in

        Northeast Hospital Corp. v. Sebelius, the D.C. Circuit found that two different terms

        had the same meaning:
                                                 42
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                     Moreover, the usual rule that Congress intends different
              meanings when it uses different words has little weight here….
              “Congress has, throughout the various Medicare and Medicaid
              statutory provisions, consistently used the words ‘eligible’ to refer to
              potential Medicaid beneficiaries and ‘entitled’ to refer to potential
              Medicare beneficiaries for no reason whatever that anyone…has been
              able to divine.” …[I]t would be a mistake to read too much into the
              difference in nomenclature.

        657 F.3d 1, 12-13 (D.C. Cir. 2011). Congress’ direct cross-reference to Section 153

        within Section 224(a)(5) thus overrides any presumption that Congress typically

        employs different words to connote different meanings.

              Further, the D.C. Circuit in AEP erred by considering the text of Sections

        224(a)(4) and 224(a)(5) in a vacuum, and by ignoring the essential legislative history

        of the 1996 Act. See Chamber of Commerce of the United States, 721 F.3d at 160

        (“Under Chevron's first step, we must use the ‘traditional tools of statutory

        construction’ to ascertain congressional intent. We thus look to the text of the

        statute, along with ‘the overall statutory scheme, legislative history, the history of

        evolving congressional regulation in the area….’”) (internal citation omitted).

              The primary purpose of the 1996 Act, which added the language in Sections

        224(a)(4) and 224(a)(5) at issue, was to create competition in the telephony market

        by imposing various obligations (as opposed to benefits) on ILECs. Under the 1996

        Act, ILECs were required, for the first time, to allow competitors access to their

        facilities on just and reasonable rates, terms, and conditions. As this Court wrote in


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        Cavalier Telephone, LLC v. Verizon Virginia, Inc. when explaining the purpose of

        the 1996 Act:

                     Once it is recognized that the creation of competition in local
              markets through enforcement of the antitrust laws could be slow and
              inefficient, then Congress’ adoption of the Telecommunications Act as
              a parallel but distinctly different approach to jump-start and accelerate
              competition can be understood.

        330 F.3d 176, 188 (4th Cir. 2003); see also New Cingular Wireless PCS, LLC v.

        Finley, 674 F.3d 225, 229-30 (4th Cir. 2012) (“The Telecommunications Act of 1996

        aims to transition the [telecommunications] industry from regulated monopoly to

        unregulated competition. To achieve this goal, the Act seeks to ‘clear[] away the

        obstacles to new entry’ for new competitors and requires [ILECs], specifically, to

        assist new competitors entering the market.”) (alterations in original). In light of the

        1996 Act’s overarching purpose—to protect new entrants against ILECs—it is

        incomprehensible to read the 1996 amendments to Section 224 as indicating

        Congressional intent to override joint use agreements through rate protections to

        ILECs.     Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001)

        (“Congress…does not alter the fundamental details of a regulatory scheme in vague

        terms or ancillary provisions—it does not, one might say, hide elephants in

        mouseholes.”).

              The framework of the Pole Attachments Act, both as originally enacted in

        1978 and as amended in 1996, establishes a dichotomy between pole-owning utilities


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        (telephone and electric utilities) and certain entities seeking access to those poles

        (initially, CATVs; then later, both CATVs and CLECs). See 123 Cong. Rec. 35,006

        (“H.R. 7442 will resolve a longstanding problem in the relationship of cable

        television companies on the one hand, and power and telephone utilities on the

        other.”); S. Rep. No. 104-23, at 40 (1995) (“Section 224…requires the FCC to ensure

        that the rates, terms, and conditions for attachments by cable television systems to

        poles, ducts, conduits, and rights-of-way owned or controlled by utilities, including

        telephone companies, are just and reasonable.”).

              The FCC, in the period immediately following the adoption of the 1996 Act,

        clearly understood that the 1996 Act imposed obligations on ILECs, as distinct from

        other providers of telecommunications services (like CLECs) that were granted the

        protections of the Act. 1998 Order, 13 FCC Rcd at 6781, ¶ 5 (“Because, for

        purposes of Section 224, an ILEC is a utility but is not a telecommunications

        carrier…the ILEC has no rights under Section 224 with respect to the poles of

        other utilities.”) (emphasis added); 1999 NPRM, 14 FCC Rcd at 12692, ¶ 36 (“The

        rights and obligations created under section 224 run between utilities, on the one

        hand, and cable television systems and telecommunications carriers, on the other

        hand.”); 2000 Order and FNPRM, 15 FCC Rcd at 23015, ¶ 71 (“While previously

        the protections of Section 224 had applied only to cable operators, the 1996 Act

        extended those protections to telecommunications carriers as well.”); id. at 23015, ¶


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        72 (“Section 224…specifically excludes [ILECs] from the definition of

        telecommunications carriers with rights as pole attachers.”) (emphasis added).

                     2. This Case Magnifies the Error of the FCC’s Assertion of
                        Jurisdiction Over the Rates Paid by ILECs to Electric Utilities.

              Unlike in AEP, which was a facial challenge, the dispute here involves an

        actual joint use agreement between Duke and AT&T. Under this agreement, each

        party pays the other a per pole rental rate which results in annual net rental payments

        being owed by one party to the other. It is undisputed that the FCC lacks jurisdiction

        over the rate Duke pays AT&T. And, in fact, the FCC made no findings with respect

        to the rate paid by Duke to AT&T. The most the FCC could muster was a half-

        hearted order for the parties to “negotiate…proportional reciprocal rates for Duke’s

        attachments to AT&T’s poles.” [EB_Order_¶_64].

              This pretense of minding the other half of the net rental calculation stems

        directly from statutory limitations. Section 224 gives the FCC jurisdiction over “the

        rates, terms, and conditions for pole attachments.”          47 U.S.C. § 224(b)(1)

        (emphasis added). Under Section 224(a)(4), a “pole attachment” is defined as “any

        attachment by a cable television system or provider of telecommunications

        service to a pole, duct, conduit, or right-of-way owned or controlled by a utility.” 47

        U.S.C. § 224(a)(4). Duke is neither a cable television system nor a provider of

        telecommunications service; thus, Duke’s attachments to AT&T’s poles are not

        “pole attachments” within the scope of the FCC’s jurisdiction.

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              The FCC has been cagey about its lack of jurisdiction from the outset. In the

        2011 Order, the FCC mused: “[W]e would be skeptical of a complaint by an [ILEC]

        seeking a proportionately lower rate to attach to an electric utility’s poles than the

        rate the incumbent LEC is charging the electric utility to attach to its poles.” 2011

        Order, 26 FCC Rcd at 5337, ¶ 218. In the first complaint proceeding where the FCC

        was forced to respond to an argument by an electric utility that it would be improper

        for the FCC to calculate the rate to be paid by the ILEC where the FCC lacked

        jurisdiction to determine the rate to be paid by the electric utility, the FCC wrote:

                     Finally, we disagree that it would be improper to calculate a rate
              Verizon should be charged for each year of the relevant statute of
              limitations unless the Commission also calculates the reciprocal rate
              that Potomac Edison should have paid Verizon during that
              timeframe. Identifying the rate Verizon pays will enable better
              informed negotiations between the parties to resolve their dispute.

        Potomac Edison, 35 FCC Rcd at 13629-13630, ¶ 51. Further, the FCC went out of

        its way to state: “We make no determination about the validity or accuracy of

        Verizon’s calculation of an appropriate proportionate rate [to be paid by Potomac

        Edison].” Id. at 13630, ¶ 51 n.185.

              In the case at bar, the FCC ordered the parties to: (1) “negotiate” a new joint

        use agreement “that reflects proportional reciprocal rates for Duke’s attachments to

        AT&T’s poles,” and (2) “negotiate in good faith to reach an agreement on the

        amount of AT&T’s refund.” See [EB_Order_¶_64]. The FCC did not find that the



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        rates AT&T charged Duke were unjust and unreasonable, nor did it not opine on the

        formula for calculating those rates. The FCC further skirted the issue by stating:

              Further, Duke’s argument about the rate it currently pays AT&T
              overlooks that the Order directed the parties to negotiate a new
              reciprocal [joint use agreement] that reflects proportional reciprocal
              rates for Duke’s attachments to AT&T’s poles, and AT&T has
              committed to making appropriate adjustments to [Duke’s] rate for all
              years covered by the statute of limitations if AT&T’s complaint is
              granted.

        [Order_¶_24_n.88 (second alteration in original) (internal citation omitted)].8

              The FCC’s unwillingness to adjudicate the rate that electric utilities pay for

        access to ILEC poles makes clear that the FCC appreciates (a) its lack of jurisdiction

        over such rates, and (b) how that lack of jurisdiction imperils its exercise of

        jurisdiction over the rates paid by ILECs for access to electric utility poles. The

        FCC’s apparent concern is well-founded. There is no indication in the Act that

        Congress intended to create the sort of regulatory gap that the FCC has purported to

        create here.

              Since the first iteration of the Pole Attachments Act in 1978, Congress was

        well aware that electric utilities and ILECs were parties to joint use agreements

        whereby each party made attachments to the other party’s poles.9 Given this, it is


        8
          If the FCC’s solution to this jurisdictional gap is simply to rely on AT&T’s
        “commit[ment] to making appropriate adjustments,” this isn’t just arbitrary and
        capricious—it is naïve and reckless.
        9
          See, e.g., S. Rep. No. 95-580, at 12 (1977) (“These poles, ducts, and conduits are
        usually owned by telephone and electric power utility companies, which often have
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        not rational to assume that Congress intended for the FCC to have jurisdiction over

        the rates paid by one of the parties to joint use agreements (ILECs), but not over the

        rates paid by the other party (electric utilities). See Conway Corp. v. Fed. Power

        Com., 510 F.2d 1264, 1272 (D.C. Cir. 1975) (“A legislative intention to achieve such

        a regulatory gap is not to be presumed unless expressly presented.”). Because

        Congress did not expressly indicate in Section 224 that it intended for the FCC to

        regulate the rates paid by ILECs under joint use agreements, but not the rates paid

        by electric utilities to ILECs, there can be no presumption that it intended to create

        such a regulatory gap. This demonstrates that the FCC likewise lacks jurisdiction

        over the rates electric utilities charge ILECs for attachments.

              B. Even if the FCC Has Jurisdiction Over the Rates Paid by AT&T, It
                 was Arbitrary and Capricious to Exercise Jurisdiction Given the Lack
                 of Jurisdiction Over the Rates Paid by Duke.

              The FCC’s assertion of jurisdiction over the rate paid by AT&T is also

        arbitrary and capricious because the FCC “entirely failed to consider an important

        aspect of the problem”—namely, its lack of jurisdiction over the rate paid by Duke.

        See Nat’l Ass’n of Home Builders v. Defenders of Wildlife, 551 U.S. 644, 658 (2007).

        The FCC was “required to grapple with” its lack of jurisdiction over the other half

        of the net rental equation, but instead it “seemed to whistle past the graveyard” by


        entered into joint use or joint ownership agreements for the use of each other’s poles.
        It is estimated that approximately 70% of all utility poles owned by either telephone
        or electric utilities are actually jointly used.”).
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        glossing over its inability to provide full relief over the parties’ entire dispute. See

        Mozilla Corp. v. FCC, 940 F.3d 1, 66, 67 (D.C. Cir. 2019) (finding that FCC acted

        arbitrarily and capriciously where it failed to exhibit “reasoned consideration” of the

        impact on broadband pole attachments of reclassifying broadband internet as an

        information service and only “offered, at best, scattered and unreasoned

        observations” on that issue).

              Here, the parties’ relationship is governed by a joint use agreement under

        which net rental is exchanged. Because the FCC lacks jurisdiction over the rate

        Duke pays to AT&T under the joint use agreement, the FCC cannot resolve either

        the amount of refund owed or the going-forward net rental methodology. The FCC

        is thus incapable of providing the parties with a full resolution of their dispute. This

        is an unjust, unreasonable, arbitrary, and capricious result.

              Another “important aspect of the problem” that the FCC “entirely failed to

        consider” is the disparity between Duke’s pole costs and AT&T’s pole costs—i.e.,

        the cost bases for any calculation of cost-based rates. The parties’ respective annual

        pole costs for the 2017-2019 period are as follows:

                                                          2017          2018          2019
         Duke Annual Pole Cost                             $             $            $
         AT&T (North Carolina) Annual Pole Cost            $             $             $
         AT&T (South Carolina) Annual Pole Cost            $             $             $

        See [Answer_¶_22]; [Answer_Exh._D_DEP000305]; [EB_Order_¶_56 (adjusting

        components of Duke’s annual pole cost calculations)]. Though the FCC ordered the
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        parties to negotiate “proportional reciprocal rates for Duke’s attachments to AT&T’s

        poles,” [Order_¶_64], the FCC failed to “grapple with” how proportionality is

        impacted by disproportionate cost bases. Making matters worse, in determining

        that the rates paid by AT&T were unjust and unreasonable, the FCC relied, in part,

        on its observation that “[t]he rate AT&T pays Duke under the joint use agreement is

        about 75 percent of the rate Duke pays AT&T, even though Duke’s attachments

        occupy much more space on the poles.” [EB_Order_¶_42]. The FCC’s reasoning

        presumes a “one for one” cost comparison, which, as the chart above reveals, is not

        just inaccurate but wildly inaccurate.

                                           CONCLUSION

              For the reasons set forth in Section III supra, the Court should find that the

        FCC lacks jurisdiction over the rate charged under the parties’ joint use agreement

        and set aside the Order in its entirety. In the alternative, the Court should find that,

        for the reasons set forth in Sections I and II supra, the FCC acted arbitrarily,

        capriciously, in violation of the Act and/or otherwise in violation of the law and set

        aside the FCC’s findings that: (1) AT&T is entitled to a refund for the period

        governed by the 2011 Order; and (2) Duke should bear the entire cost of the

        communication worker safety zone.




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                              REQUEST FOR ORAL ARGUMENT

              Pursuant to Federal Rule of Appellate Procedure 34(a), Petitioner Duke

        Energy Progress, LLC respectfully requests oral argument. This case involves

        complicated legal and factual issues, as well as several issues of first impression.




                                                Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE

              I hereby certify that the foregoing Opening Brief of Petitioner Duke Energy

        Progress, LLC (“Opening Brief”) complies with the type-volume requirement set

        forth in Federal Rule of Appellate Procedure 32. The word count feature in

        Microsoft Word reports that the Opening Brief contains 12,560 words, excluding the

        items exempted under Federal Rule of Appellate Procedure 32(f).

              The Opening Brief also complies with the typeface and typestyle requirements

        of Federal Rule of Appellate Procedure 32 because this document has been prepared

        in a proportionally spaced typeface using Microsoft Word in Times New Roman,

        size 14 font.



                                             /s/ Eric B. Langley
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                                    CERTIFICATE OF SERVICE

              I certify that, on April 10, 2023, I electronically filed the foregoing Page-Proof

        Opening Brief of Appellant with the Clerk of the Court for the United States Court

        of Appeals for the Fourth Circuit by using the CM/ECF system. The participants in

        the case are registered CM/ECF users and service will be accomplished by the

        appellate CM/ECF system.

              I further certify, that on April 10, 2023, I served the Sealed version of the

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                          ADDENDUM
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                          Page 61                                 TITLE 47—TELECOMMUNICATIONS                                                    § 224

                            mission who is designated by the Commission for                 under subsection (a) holding this title or an amend-
                            such purposes, or                                               ment made by this title, or any provision thereof, un-
                               ‘‘(ii) by the Commission after appropriate adminis-          constitutional shall be reviewable as a matter of right
                            trative proceedings.                                            by direct appeal to the Supreme Court. Any such ap-
                            ‘‘(4) The Attorney General may bring a suit in the ap-          peal shall be filed not more than 20 days after entry of
                          propriate district court of the United States to enjoin           such judgment, decree, or order.’’
                          any act or practice which violates paragraph (1)(A) or
                                                                                            REGULATIONS; DISPOSITION OF COMPLAINTS PENDING ON
                          (1)(B). An injunction may be granted in accordance
                                                                                                             DECEMBER 8, 1983
                          with the Federal Rules of Civil Procedure.’’
                            Pub. L. 100–297, in par. (1)(A), struck out ‘‘under               Pub. L. 98–214, § 8(c), (d), Dec. 8, 1983, 97 Stat. 1470,
                          eighteen years of age or to any other person without              provided that the Federal Communications Commis-
                          that person’s consent’’ after ‘‘to any person’’, redesig-         sion (FCC) issue regulations pursuant to subsec. (b)(2)
                          nated par. (3) as (2) and struck out former par. (2) which        of this section not later than 180 days after Dec. 8, 1983,
                          read as follows: ‘‘It is a defense to a prosecution under         and that the FCC was to act on all complaints alleging
                          this subsection that the defendant restricted access to           violation of this section pending on Dec. 8, 1983, within
                          the prohibited communication to persons eighteen                  90 days of that date.
                          years of age or older in accordance with procedures
                          which the Commission shall prescribe by regulation.’’,            § 224. Pole attachments
                          redesignated par. (4) as (3) and substituted ‘‘under para-        (a) Definitions
                          graphs (1) and (2)’’ for ‘‘under paragraphs (1) and (3)’’,
                          and redesignated par. (5) as (4).                                    As used in this section:
                            1983—Subsec. (a). Pub. L. 98–214, § 8(a)(1), (2), des-             (1) The term ‘‘utility’’ means any person who
                          ignated existing provisions as subsec. (a) and sub-               is a local exchange carrier or an electric, gas,
                          stituted ‘‘$50,000’’ for ‘‘$500’’ in provisions after par. (2).   water, steam, or other public utility, and who
                            Subsec. (a)(2). Pub. L. 98–214, § 8(b), inserted ‘‘facility’’   owns or controls poles, ducts, conduits, or
                          after ‘‘telephone’’.
                            Subsec. (b). Pub. L. 98–214, § 8(a)(3), added subsec. (b).
                                                                                            rights-of-way used, in whole or in part, for any
                                                                                            wire communications. Such term does not in-
                               STATUTORY NOTES AND RELATED SUBSIDIARIES
                                                                                            clude any railroad, any person who is coopera-
                                                                                            tively organized, or any person owned by the
                                   EFFECTIVE DATE OF 1998 AMENDMENTS                        Federal Government or any State.
                            Pub. L. 105–277, div. C, title XIV, § 1406, Oct. 21, 1998,         (2) The term ‘‘Federal Government’’ means the
                          112 Stat. 2681–741, provided that: ‘‘This title [enacting         Government of the United States or any agency
                          section 231 of this title, amending this section and sec-         or instrumentality thereof.
                          tion 230 of this title, and enacting provisions set out as           (3) The term ‘‘State’’ means any State, terri-
                          notes under sections 231 and 609 of this title] and the           tory, or possession of the United States, the Dis-
                          amendments made by this title shall take effect 30 days           trict of Columbia, or any political subdivision,
                          after the date of enactment of this Act [Oct. 21, 1998].’’
                                                                                            agency, or instrumentality thereof.
                            Amendment by Pub. L. 105–244 effective Oct. 1, 1998,
                          except as otherwise provided in Pub. L. 105–244, see sec-            (4) The term ‘‘pole attachment’’ means any at-
                          tion 3 of Pub. L. 105–244, set out as a note under section        tachment by a cable television system or pro-
                          1001 of Title 20, Education.                                      vider of telecommunications service to a pole,
                                                                                            duct, conduit, or right-of-way owned or con-
                                    EFFECTIVE DATE OF 1989 AMENDMENT                        trolled by a utility.
                            Amendment by Pub. L. 101–166 effective 120 days after              (5) For purposes of this section, the term
                          Nov. 21, 1989, see section 521(3) of Pub. L. 101–166, set         ‘‘telecommunications carrier’’ (as defined in sec-
                          out as a note under section 152 of this title.                    tion 153 of this title) does not include any in-
                                    EFFECTIVE DATE OF 1988 AMENDMENT                        cumbent local exchange carrier as defined in
                                                                                            section 251(h) of this title.
                            Amendment by Pub. L. 100–297 effective July 1, 1988,
                          see section 6303 of Pub. L. 100–297, set out as a note
                                                                                            (b) Authority of Commission to regulate rates,
                          under section 1071 of Title 20, Education.                             terms, and conditions; enforcement powers;
                                                                                                 promulgation of regulations
                                     CONSTRUCTION OF 2006 AMENDMENT
                                                                                               (1) Subject to the provisions of subsection (c)
                            Pub. L. 109–162, title I, § 113(b), Jan. 5, 2006, 119 Stat.     of this section, the Commission shall regulate
                          2987, provided that: ‘‘This section [amending this sec-           the rates, terms, and conditions for pole attach-
                          tion] and the amendment made by this section may not
                                                                                            ments to provide that such rates, terms, and
                          be construed to affect the meaning given the term
                          ‘telecommunications device’ in section 223(h)(1) of the           conditions are just and reasonable, and shall
                          Communications Act of 1934 [47 U.S.C. 223(h)(1)], as in           adopt procedures necessary and appropriate to
                          effect before the date of the enactment of this section           hear and resolve complaints concerning such
                          [Jan. 5, 2006].’’                                                 rates, terms, and conditions. For purposes of en-
                                                                                            forcing any determinations resulting from com-
                                              EXPEDITED REVIEW
                                                                                            plaint procedures established pursuant to this
                            Pub. L. 104–104, title V, § 561, Feb. 8, 1996, 110 Stat. 142,   subsection, the Commission shall take such ac-
                          provided that:                                                    tion as it deems appropriate and necessary, in-
                            ‘‘(a) THREE-JUDGE DISTRICT COURT HEARING.—Not-                  cluding issuing cease and desist orders, as au-
                          withstanding any other provision of law, any civil ac-
                                                                                            thorized by section 312(b) of this title.
                          tion challenging the constitutionality, on its face, of
                          this title [see Short Title of 1996 Amendment note set               (2) The Commission shall prescribe by rule
                          out under section 609 of this title] or any amendment             regulations to carry out the provisions of this
                          made by this title, or any provision thereof, shall be            section.
                          heard by a district court of 3 judges convened pursuant           (c) State regulatory authority over rates, terms,
                          to the provisions of section 2284 of title 28, United                  and conditions; preemption; certification;
                          States Code.                                                           circumstances constituting State regulation
                            ‘‘(b) APPELLATE REVIEW.—Notwithstanding any other
                          provision of law, an interlocutory or final judgment,                (1) Nothing in this section shall be construed
                          decree, or order of the court of 3 judges in an action            to apply to, or to give the Commission jurisdic-



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           § 224                           TITLE 47—TELECOMMUNICATIONS                                                  Page 62

           tion with respect to rates, terms, and condi-         to resolve a dispute over such charges. Such reg-
           tions, or access to poles, ducts, conduits, and       ulations shall ensure that a utility charges just,
           rights-of-way as provided in subsection (f), for      reasonable, and nondiscriminatory rates for pole
           pole attachments in any case where such mat-          attachments.
           ters are regulated by a State.                           (2) A utility shall apportion the cost of pro-
             (2) Each State which regulates the rates,           viding space on a pole, duct, conduit, or right-of-
           terms, and conditions for pole attachments shall      way other than the usable space among entities
           certify to the Commission that—                       so that such apportionment equals two-thirds of
               (A) it regulates such rates, terms, and condi-    the costs of providing space other than the usa-
             tions; and                                          ble space that would be allocated to such entity
               (B) in so regulating such rates, terms, and       under an equal apportionment of such costs
             conditions, the State has the authority to con-     among all attaching entities.
             sider and does consider the interests of the           (3) A utility shall apportion the cost of pro-
             subscribers of the services offered via such at-    viding usable space among all entities according
             tachments, as well as the interests of the con-     to the percentage of usable space required for
             sumers of the utility services.                     each entity.
             (3) For purposes of this subsection, a State           (4) The regulations required under paragraph
           shall not be considered to regulate the rates,        (1) shall become effective 5 years after February
           terms, and conditions for pole attachments—           8, 1996. Any increase in the rates for pole attach-
               (A) unless the State has issued and made ef-      ments that result from the adoption of the regu-
             fective rules and regulations implementing          lations required by this subsection shall be
             the State’s regulatory authority over pole at-      phased in equal annual increments over a period
             tachments; and                                      of 5 years beginning on the effective date of such
               (B) with respect to any individual matter,        regulations.
             unless the State takes final action on a com-       (f) Nondiscriminatory access
             plaint regarding such matter—                          (1) A utility shall provide a cable television
                  (i) within 180 days after the complaint is     system or any telecommunications carrier with
               filed with the State, or                          nondiscriminatory access to any pole, duct, con-
                  (ii) within the applicable period prescribed   duit, or right-of-way owned or controlled by it.
               for such final action in such rules and regu-        (2) Notwithstanding paragraph (1), a utility
               lations of the State, if the prescribed period    providing electric service may deny a cable tele-
               does not extend beyond 360 days after the fil-    vision system or any telecommunications car-
               ing of such complaint.                            rier access to its poles, ducts, conduits, or
           (d) Determination of just and reasonable rates;       rights-of-way, on a non-discriminatory 1 basis
               ‘‘usable space’’ defined                          where there is insufficient capacity and for rea-
             (1) For purposes of subsection (b) of this sec-     sons of safety, reliability and generally applica-
           tion, a rate is just and reasonable if it assures a   ble engineering purposes.
           utility the recovery of not less than the addi-       (g) Imputation to costs of pole attachment rate
           tional costs of providing pole attachments, nor          A utility that engages in the provision of tele-
           more than an amount determined by multi-              communications services or cable services shall
           plying the percentage of the total usable space,      impute to its costs of providing such services
           or the percentage of the total duct or conduit        (and charge any affiliate, subsidiary, or asso-
           capacity, which is occupied by the pole attach-       ciate company engaged in the provision of such
           ment by the sum of the operating expenses and         services) an equal amount to the pole attach-
           actual capital costs of the utility attributable      ment rate for which such company would be lia-
           to the entire pole, duct, conduit, or right-of-       ble under this section.
           way.
                                                                 (h) Modification or alteration of pole, duct, con-
             (2) As used in this subsection, the term ‘‘usa-
                                                                      duit, or right-of-way
           ble space’’ means the space above the minimum
           grade level which can be used for the attach-            Whenever the owner of a pole, duct, conduit,
           ment of wires, cables, and associated equipment.      or right-of-way intends to modify or alter such
             (3) This subsection shall apply to the rate for     pole, duct, conduit, or right-of-way, the owner
           any pole attachment used by a cable television        shall provide written notification of such action
           system solely to provide cable service. Until the     to any entity that has obtained an attachment
           effective date of the regulations required under      to such conduit or right-of-way so that such en-
           subsection (e), this subsection shall also apply      tity may have a reasonable opportunity to add
           to the rate for any pole attachment used by a         to or modify its existing attachment. Any entity
           cable system or any telecommunications carrier        that adds to or modifies its existing attachment
           (to the extent such carrier is not a party to a       after receiving such notification shall bear a
           pole attachment agreement) to provide any tele-       proportionate share of the costs incurred by the
           communications service.                               owner in making such pole, duct, conduit, or
           (e) Regulations governing charges; apportion-         right-of-way accessible.
               ment of costs of providing space                  (i) Costs of rearranging or replacing attachment
             (1) The Commission shall, no later than 2              An entity that obtains an attachment to a
           years after February 8, 1996, prescribe regula-       pole, conduit, or right-of-way shall not be re-
           tions in accordance with this subsection to gov-      quired to bear any of the costs of rearranging or
           ern the charges for pole attachments used by          replacing its attachment, if such rearrangement
           telecommunications carriers to provide tele-
           communications services, when the parties fail         1 So in original. Probably should be ‘‘nondiscriminatory’’.




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           Page 63                                 TITLE 47—TELECOMMUNICATIONS                                          § 225

           or replacement is required as a result of an addi-                chine that employs graphic communication in
           tional attachment or the modification of an ex-                   the transmission of coded signals through a
           isting attachment sought by any other entity                      wire or radio communication system.
           (including the owner of such pole, duct, conduit,                 (3) Telecommunications relay services
           or right-of-way).                                                    The term ‘‘telecommunications relay serv-
           (June 19, 1934, ch. 652, title II, § 224, as added                ices’’ means telephone transmission services
           Pub. L. 95–234, § 6, Feb. 21, 1978, 92 Stat. 35;                  that provide the ability for an individual who
           amended Pub. L. 97–259, title I, § 106, Sept. 13,                 is deaf, hard of hearing, deaf-blind, or who has
           1982, 96 Stat. 1091; Pub. L. 98–549, § 4, Oct. 30, 1984,          a speech disability to engage in communica-
           98 Stat. 2801; Pub. L. 103–414, title III, § 304(a)(7),           tion by wire or radio with one or more individ-
           Oct. 25, 1994, 108 Stat. 4297; Pub. L. 104–104, title             uals, in a manner that is functionally equiva-
           VII, § 703, Feb. 8, 1996, 110 Stat. 149.)                         lent to the ability of a hearing individual who
                                                                             does not have a speech disability to commu-
                                 Editorial Notes                             nicate using voice communication services by
                                  AMENDMENTS                                 wire or radio.
              1996—Subsec. (a)(1). Pub. L. 104–104, § 703(1), inserted
                                                                           (b) Availability of telecommunications relay
           first sentence and struck out former first sentence                  services
           which read as follows: ‘‘The term ‘utility’ means any             (1) In general
           person whose rates or charges are regulated by the Fed-              In order to carry out the purposes estab-
           eral Government or a State and who owns or controls
                                                                             lished under section 151 of this title, to make
           poles, ducts, conduits, or rights-of-way used, in whole
           or in part, for wire communication.’’                             available to all individuals in the United
              Subsec. (a)(4). Pub. L. 104–104, § 703(2), inserted ‘‘or       States a rapid, efficient nationwide commu-
           provider of telecommunications service’’ after ‘‘sys-             nication service, and to increase the utility of
           tem’’.                                                            the telephone system of the Nation, the Com-
              Subsec. (a)(5). Pub. L. 104–104, § 703(3), added par. (5).     mission shall ensure that interstate and intra-
              Subsec. (c)(1). Pub. L. 104–104, § 703(4), inserted ‘‘, or     state telecommunications relay services are
           access to poles, ducts, conduits, and rights-of-way as
                                                                             available, to the extent possible and in the
           provided in subsection (f),’’ after ‘‘conditions’’.
              Subsec. (c)(2)(B). Pub. L. 104–104, § 703(5), substituted      most efficient manner, to hearing-impaired
           ‘‘the services offered via such attachments’’ for ‘‘cable         and speech-impaired individuals in the United
           television services’’.                                            States.
              Subsec. (d)(3). Pub. L. 104–104, § 703(6), added par. (3).     (2) Use of general authority and remedies
              Subsecs. (e) to (i). Pub. L. 104–104, § 703(7), added sub-
           secs. (e) to (i).                                                    For the purposes of administering and en-
              1994—Subsec. (b)(2). Pub. L. 103–414 substituted ‘‘The         forcing the provisions of this section and the
           Commission’’ for ‘‘Within 180 days from February 21,              regulations prescribed thereunder, the Com-
           1978, the Commission’’.                                           mission shall have the same authority, power,
              1984—Subsec. (c)(3). Pub. L. 98–549 added par. (3).            and functions with respect to common carriers
              1982—Subsec. (e). Pub. L. 97–259 struck out subsec. (e)        engaged in intrastate communication as the
           which provided that, upon expiration of 5-year period             Commission has in administering and enforc-
           that began on Feb. 21, 1978, provisions of subsec. (d) of
           this section would cease to have any effect.
                                                                             ing the provisions of this subchapter with re-
                                                                             spect to any common carrier engaged in inter-
                  Statutory Notes and Related Subsidiaries                   state communication. Any violation of this
                                                                             section by any common carrier engaged in
                     EFFECTIVE DATE OF 1984 AMENDMENT                        intrastate communication shall be subject to
             Amendment by Pub. L. 98–549 effective 60 days after             the same remedies, penalties, and procedures
           Oct. 30, 1984, except where otherwise expressly pro-              as are applicable to a violation of this chapter
           vided, see section 9(a) of Pub. L. 98–549, set out as a           by a common carrier engaged in interstate
           note under section 521 of this title.
                                                                             communication.
                                EFFECTIVE DATE                             (c) Provision of services
             Section effective on thirtieth day after Feb. 21, 1978,         Each common carrier providing telephone
           see section 7 of Pub. L. 95–234, set out as an Effective        voice transmission services shall, not later than
           Date of 1978 Amendment note under section 152 of this           3 years after July 26, 1990, provide in compliance
           title.
                                                                           with the regulations prescribed under this sec-
           § 225. Telecommunications services for hearing-                 tion, throughout the area in which it offers serv-
               impaired and speech-impaired individuals                    ice, telecommunications relay services, individ-
                                                                           ually, through designees, through a competi-
           (a) Definitions
                                                                           tively selected vendor, or in concert with other
             As used in this section—                                      carriers. A common carrier shall be considered
             (1) Common carrier or carrier                                 to be in compliance with such regulations—
               The term ‘‘common carrier’’ or ‘‘carrier’’ in-                   (1) with respect to intrastate telecommuni-
             cludes any common carrier engaged in inter-                     cations relay services in any State that does
             state communication by wire or radio as de-                     not have a certified program under subsection
             fined in section 153 of this title and any com-                 (f) and with respect to interstate tele-
             mon carrier engaged in intrastate communica-                    communications relay services, if such com-
             tion by wire or radio, notwithstanding sec-                     mon carrier (or other entity through which
             tions 152(b) and 221(b) of this title.                          the carrier is providing such relay services) is
                                                                             in compliance with the Commission’s regula-
             (2) TDD                                                         tions under subsection (d); or
               The term ‘‘TDD’’ means a Telecommuni-                            (2) with respect to intrastate telecommuni-
             cations Device for the Deaf, which is a ma-                     cations relay services in any State that has a




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               Rule 238C                               Part 2: Safety Rules for Overhead Lines                           Rule 238E Handbook



                  C. Clearances for span wires or brackets
                      Span wires or brackets carrying luminaires, traffic signals, or trolley conductors shall have
                      vertical clearances from communications lines and equipment not less than the values specified in
                      Table 238-2.


                                      Table 238-2—Vertical clearance of span wires and brackets
                                              from communication lines and equipment
                                                                   (See also Rule 238C.)


                                                                                                       Carrying luminaires, traffic
                                                                                                      signals, or trolley conductors

                                                                                                   Not effectively          Effectively
                                                                                                     grounded               grounded

                                                                                                   (mm)        (in)       (mm)        (in)

                      Above communication support arms                                              1000        40         500       20 q

                      Below communication support arms                                             1000         40         600         24
                      Above messengers carrying communication cables                                1000        40         100          4
                      Below messengers carrying communication cables                               1000         40         100          4
                      From terminal box of communication cable                                      1000        40         100          4
                      From communication brackets, bridle wire rings, or drive hooks               1000         40         100          4

                     q This may be reduced to 300 mm (12 in) for either span wires or metal parts of brackets at points 1.0 m
                       (40 in) or more from the structure surface.



                  D. Clearance of drip loops associated with luminaires and traffic signals
                      If a drip loop of conductors entering a luminaire, a luminaire bracket, or a traffic signal bracket is
                      above a communication cable, the lowest point of the loop shall be not less than 300 mm (12 in) above
                      the highest (1) communication cable or (2) through bolt or other equipment.
                        EXCEPTION: The above clearance may be reduced to 75 mm (3 in) if the loop is covered by a suitable
                        nonmetallic covering that extends at least 50 mm (2 in) beyond the loop.
                  E. Communication worker safety zone
                      The clearances specified in Rules 235C and 238 create a communication worker safety zone between
                      the facilities located in the supply space and facilities located in the communication space, both at the
                      structure and in the span between structures. Except as allowed by Rules 238C, 238D, and 239, no
                      supply or communication facility shall be located in the communication worker safety zone.

                  Rule 238E. (New in the 2002 Code.)
                        See the companion discussion of Rule 235C4 and Rule 224A. The communication worker safety
                  zone is required between the supply space and communication space when communication workers use
                  communication work rules, tools, equipment, and methods. The communication worker safety zone
                  creates headroom for communication workers. When communication workers keep all parts of their
                  bodies below the lowest supply facility, this zone allows safe working space for communication
                  workers observing communication work rules.




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               Rule 238E Handbook                      Part 2: Safety Rules for Overhead Lines                             Rule 239 Handbook



                        If communication workers are authorized to work in the supply space; use supply work rules and
                  methods, insulated buckets, insulating tools and insulating personal protective gear; and otherwise
                  meet Rule 224A, there is no requirement for a separate communication space and communication
                  worker safety zone.
                        However, if communication is not authorized in the supply space or communication workers
                  choose not to use supply work rules and methods, insulated buckets, etc., a separate communication
                  space is required. No supply or communication lines or equipment are allowed in the communication
                  worker safety zone except those allowed by Rule 238C, Rule 238D, or Rule 239.
                        Although a luminaire or traffic signal bracket or span wire is allowed in the safety zone by
                  Rule 238C and Rule 238D (when required to meet operation height requirements), packet radio
                  antennas (as shown in Figure H238E) cannot be mounted on such devices when they are in the
                  communication worker safety zone; they must be mounted outside of the communication worker safety
                  zone. The 2012 Code emphasized this requirement by specifically adding antennas into the list of items
                  considered as equipment for purposes of Rule 238. Antennas are intentionally not listed in Rules 238C,
                  238D, or 239 and are not allowed in the cwsz.




                                                                Figure H238E
                                          Antennas not allowed in communication worker safety zone


               239. Clearance of vertical and lateral facilities from other facilities and surfaces on
               the same supporting structure

                      Vertical and lateral conductors shall have the clearances required by this rule from other facilities or
                      surfaces on the same supporting structure.

                  Rule 239. In many places throughout this rule, the word structure was substituted in the 1977 Code for
                  the word pole to make the rule apply to poles, towers, H-frames, etc. EXCEPTION 1 in the beginning
                  of this rule in the 1987 Code and prior editions was relaxed to permit the use of conduits other than iron
                  pipe, because there seems little need for the special properties of iron pipe in this situation.
                  EXCEPTION 4 in the 1987 Code and prior editions was changed to agree with the change in
                  Rule 220B2.
                         The overall portion of Rule 239 was revised for clarity in the 1990 Code: the previous wording
                  was in effect before the use of plastic conduits and had not been updated to reflect modern practice.
                  This led to an even more extensive revision in the 1997 Code to increase the clarity and streamline the
                  rule.




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                                                  1981 47 CFR 1.1410
                                           1981 Code of Federal Regulations Archive


   Title 47--Telecommunication; > CHAPTER I--FEDERAL COMMUNICATIONS COMMISSION >

   SUBCHAPTER A--GENERAL > PART 1--PRACTICE AND PROCEDURE > Subpart J--Pole Attachment

   Complaint Procedures



   § 1.1410 Remedies.

   If the Commission determines that the rate, term, or condition complained of is not just and reasonable, it may

   prescribe a just and reasonable rate, term, or condition and may:


   (a) Terminate the unjust and unreasonable rate, term, or condition;


   (b) Substitute in the pole attachment agreement the just and reasonable rate, term, or condition established by the

   Commission; and


   (c) Order a refund, or payment, if appropriate. The refund or payment will normally be the difference between the

   amount paid under the unjust and/or unreasonable rate, term, or condition and the amount that would have been

   paid under the rate, term, or condition established by the Commission from the date that the complaint, as

   acceptable, was filed, plus interest.

   Statutory Authority


   AUTHORITY:

    Secs. 4, 303, 48 Stat. 1066, 1082, as amended; 47 U.S.C. 154, 303. Implement, 5 U.S.C. 552.

   History

   SOURCE: 44 FR 31650, June 1, 1979


     End of Document




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                                                                                         1




                                                                      Calendar No. 45
                    104th Congress                                                   S. RPT.
                                   "                   SENATE                  !
                      1st Session                                                    104–23




                                 TELECOMMUNICATIONS COMPETITION
                                   AND DEREGULATION ACT OF 1995




                                                 R E P O R T
                                                       OF THE


                        COMMITTEE ON COMMERCE, SCIENCE, AND
                                  TRANSPORTATION
                                                          ON



                                                       S. 652




                           MARCH 30 (legislative day, MARCH 27), 1995.—Ordered to be printed



                                           U.S. GOVERNMENT PRINTING OFFICE
                        99–010                    WASHINGTON : 1995




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                   rate increases. Consumer groups note that cable operators bor-
                   rowed more money in 1994 than they borrowed in 1993, and they
                   note that the major cable companies recently spent millions of dol-
                   lars in the auctions for new Personal Communications Services
                   (PCS). Consumers also point out that the vast majority of consum-
                   ers subscribe to expanded tiers of cable service in addition to the
                   basic tier.
                      The bill adopted by the Committee adopts a compromise on cable
                   rate regulation. Paragraph (1) amends the rate regulation provi-
                   sions of section 623 of the 1934 Act for the expanded tier. First, it
                   eliminates the ability of a single subscriber to initiate a rate com-
                   plaint proceeding at the FCC. Franchising authorities and other
                   relevant State and local government entities still retain the ability
                   to initiate a rate proceeding. Second, rates for cable programming
                   services will only be considered unreasonable, and subject to regu-
                   lation, if the rates substantially exceed the national average rates
                   for comparable cable programming services. This means that the
                   ‘‘bad actors’’ will be rate-regulated, while the ‘‘good actors’’ will not
                   be subject to Commission-imposed rates.
                      Paragraph (2) amends section 623(l)(1). Section 623(l)(1) provides
                   cable operators subject to effective competition are not subject to
                   rate regulation, including regulation of the basic tier. The amend-
                   ment to the definition of effective competition contained in the bill
                   allows the provision of video services by a local exchange carrier,
                   either through a common carrier video platform, or as a cable oper-
                   ator, in an unaffiliated cable operator’s franchise area to satisfy the
                   effective competition test. In other words, under the bill, if a tele-
                   phone company offers video services in a cable operator’s franchise
                   area, the cable operator’s basic and expanded tiers of service will
                   not be regulated.
                      Subsection (b) of section 204 of the bill amends section
                   628(c)(2)(B)(iii) of the 1934 Act by eliminating ‘‘other direct legiti-
                   mate economic benefit’’ from the permissible reasons for discrimi-
                   nation in the price charged for the distribution of video program-
                   ming to cable operators and other multichannel video carriers.
                      Subsection (c) of section 204 provides that the provisions of this
                   section take effect on the date of enactment.
                   Sec. 205. Pole attachments
                     Section 205 of the reported bill amends section 224 of the 1934
                   Act, the pole attachment provisions. Section 224., which was added
                   to the 1934 Act in 1978, requires the FCC to ensure that the rates,
                   terms, and conditions for attachments by cable television systems
                   to poles, ducts, conduits, and rights-of-way owned or controlled by
                   utilities, including telephone companies, are just and reasonable.
                     Section 205 modifies section 224 of the 1934 Act to require that
                   access to utility poles be granted to cable operators, whether the
                   attachment is used to provide cable services or telecommunications
                   services.
                     Section 205 requires the FCC to prescribe regulations, within 1
                   year of the date of enactment, to ensure that utilities charge just,
                   reasonable, and nondiscriminatory rates for attachments used to
                   provide telecommunication services, including attachments used to
                   provide cable services.




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        35006                                   CONGRESSIO AL RECORD-HOUSE                                                        October fJ5, 1977
        clear during the past year that the 1976      be permitted to file a supplemental re-                  Mr. BAUMAN. Mr. Speaker, I object
        act changes do not adequately deal with       i:ort on H .R. 7442, maklng technical and             to unanimously orderlng the second and
        the problems of Americans working             other conforming changes.                             I demand that It be ordered by tellers.
        abroad.                                         The SPEAKER pro tempore. Is there                     The SPEAK.ER pro tempore. The ques-
           The problems with the exclusion are        objection to the request or the gentle-               tion is, will a second be ordered?
        primarily caused by the dramatic In-          man from Colorado?                                         Tellers were ordered, and the Speaker
        creases In llvtng costs in certain areas        There was no objection.                             pro tempore appointed as tellers Mr.
        overseas. In the Mideast, for instance,                                                             W.lR'FH and Mr. BAUMAN.
        an apartment may rent for as much as              UTILITY POLE ATTACHMENTS                            The House divided. and the tellers
        $20.000 or $30,000 a year or more. The                                                              reported that there were-ayes 14, noes
        $15,000 exclusion provided for In the 1976      Mr. WIRTH. Mr. Speaker, I move to                   4.
        act is simply not adequate to cover the       suspend the rules and pass the bill rH .R.              Mr. BAUMAN. Mr. Speaker, I object
        addltlonal costs for hous!Jlg, education,     74.42 ) to amend the Communications Act               to the vote on the ground that a quorum
        and the like which are incurred by Amer-      of 1934 to provide for the regulation of              ls not present and make the point of
        icans working in these high-cost foreign      utlllty pole attachments, as amended.                 order that a quorum Is not present.
        areas.                                          The Clerk read as follows:
           In the last Congress, as Chairman of                           R.R. 7442                           The SPEAKER pro tempore. Evidently
        the Task Force on Foreign Source In-                                                                a quorum ls not present.
                                                        Be It enacted. by the Senate and Hou.se
        come of the Committee on Ways and             of llepresentatives of the Uni ted States of            The Sergeant at Arms will notify ab-
        Means. I became very concerned about          Amer~<& in aongress a83embtecL, That title            sent Members.
        the problems encountered by Americans         II or the Communlcat lons Act o! 1934 (47               The vote was taken by electronic de-
        ,vorking abroad. While the Task Force         u .s .c. 201 et seq .) Is amended by adding nt        vice, and there were-yeas 389, nays 7,
                                                      the end thereof the rouowlng new section :            answered "present" 2, not voting 36, as
        felt that the 1976 Act changes substau-
        tlally dealt with certain problems that                "U'l'ILITY POLE   ATTACHMENTS                follows:
        arose under prior law, It also felt that         ··si:c . 224. ( a) As used ln this section :                     [Roll No. 6841
        a reexamination of the exclusion for pri-        " ( l) The term ·utility• means any person                            YEAS-389
        vate Individuals would nevertheless be        who provides t>elephoue service or electric           Abdnor           Olay              Giaimo
                                                      energy to the public and who owns or con-             Addabbo          Cleveland         Gibbons
        appropriate. In particular, the task force    trols poles, llucts, conduits, or rights-or-way       A.kal<a          Cochran           Gllma.n
        felt that. In conjunction with an exami-      used, In whole or In part, !or w Ire com-             Alexander        Cohen             Ginn
        nation of the exclusion for overseas al-      munication. such term does not Include                hl len           Coleman           Cllck:man
        lowances provided governmental em-            any corporRtlon or other i,lm.Uar entity              Ambro            Collins. Te~.     Goldwater
        ployees. there should be- an examination      owned by the Federal Government .                     Ammerman         Conable           Gonzale,.,
                                                         "' (2) The term 'State authorit y' means the       Anderson,        Conte             Goodling
        of the appropriateness of extending to                                                                Calif.         Conyers           Gore
        private employees any exclusions for ex-      government or any State, any poli t ical sub-         Anderson. DI .   Corcoran          Gradlson
        cess foreign living costs which are pro-      dlvlston, agency, or Instrumentality of a             Andrews, N.C.    Corman            Oudger
                                                      State , and 11ny publlc utlllty district or o t her   Annunzlo         Cornell           Guyer
        vided to Government employees. On the         &Im.liar special purpose district establlshed         Applegate        Cornwell          Hagedorn
        basis of the additional information that      und.er State law.                                     Archer           Cotter            Hall
        has come to light in the past year and a         "( 3) The term ·Federal Government'                Armstrong        Coughlin          Hamuton
        half since the task force met, I feel even    means the Government of the United States             ASb:ey           crane             Hammer-
                                                                                                            Aspln.           Darnel, Dan         schmld.L
        more strongly that Congress should seri-      or any agency or Inst rumentality thereof.            AuOOln           Daniel, R. w. Hanley
        ously con:;ider converting the present flat      '"(4) The term 'pole attachment' meaI16            Badham           Danielson         Hannatord
        amount exclusion to a more equltable          any a t tachment !or wire communicat ion on           Badillo          Do.vls            Harkin
                                                      a pole, duct, conduit, or other right-or-way          Ba!alls          Delaney           Harrlng'LOn
        exclusion based on the excess living costs    owned or controlled by a utility.                     Baldus           Dent              Harris
        incurred by the taxpayer.                        " (5) The term 'usable space' means the            Barnard          Derrick           Harsha
           As Chairman ULLMAN has pointed out.        space on a utlUty pole above the minimum              Baucus           Derwlnskl         Hawklrul
                                                                                                            Boord, R ,f .    Devine            Hecl<lor
        t.he postponement of the effective date       grade level which can be used for the attach-         Beard, Tenn.     Dickinson         Hetner
        of the 1976 act changes will give the         ment of wires and cables.                             Bedell           Dicks             Hertel
        committee the opportunity to review the          •'(b) ( l) The Commlaslon shall regulate the       BeUeruon         Dingell           HlghLower
        alternative proposals for modifying the       rates, terms. and conditions tor pole attach-         BenJ~ln          Dodd              Hll\ls
                                                      ments In any case In which such rates, terms,         BennelL          Dornan            Holland
        taxation of Americans working abroad.         and conditions are not regulated b)' any State        Bevill           Downey            Hollenbeck
        I believe that It ts very Important that      authority. Any such State authority may act           Blaggl           Drlnan            Holt
        we seize this opportunity to adopt a more     at any time to regulate such retell, terma,           Blng!iam         Duncan, Oreg. Holtzman
                                                                                                            Blanchard        Duncan. Tenn . Howard
        equitable SYStem of taxing Americans          and conditions . Any such regulattons pre -           Boggs            Early             Hubbard
        working abroad which would take into          11Crlbed by the Commission or by any State            Boland           Ecitbardt         Huckaby
        account their actual excess foreign living    nuthorlty shall assure that rates for pole            Bolling          Edgar             Hughe.a
                                                      attachments are Just and reasonable.                  Bonlot           Edw.. rd&, Ala. Hyde
        costs.                                           " (2) A just and reasonable rate, whether          Bonker           Ed ward•. Cal If. !chord
           The SPEAKER pro tempore. The               prescribed by the Comm18slon or by Sta.te             Bowen            Edwards, Ok.la. Ireland
        question ls on the motion offered by the      a.u thorlty, shall assure the utility the recov-      Brademas         Ell berg          Jacobs
                                                                                                            Breau,           Emery             Je!Tord.8
        gentleman from Oregon rMr. ULLMA J            ery ot not less than the additional costs of          Brlnk.ley        Engllah           Jenkins
        that the House suspend the rules and          providing pole attachme.nts nor more than             Brodhen.d.       Erlenborn        Jenrette
        pa.•s the bill H .R. 9251. as amended.        the actual capital and operating expenses of          llroolts        Enel              Johnson, Cal.II.
           The question was taken.                    the utmty attributable to t.hat portion or            Broomfield      Evans, Colo.      Jonnson, Colo.
                                                      t he pole, duct, or conduit used by the pole          Brown, Calif, Evans, Del .        Jones, N .O.
           Mr. STEIGER. Mr. Speaker, on that          attachment. Such portion shall be the per-            Brown. Mlch. Evans. oa.           Jones, Okla.
        I demand the yeas and nays.                   centage or the tohl usable apace on n pole,           BroW1l. Ohio    Evans, lru!.      Jones, Tenn.
           The yeas and nays were ordered.                                                                  Broyhill        .Pa.ry            Jordan
                                                      or the t otal capacity oI the duct or conduit,        Buchanan        Fascell           Kasten
           The SPEAKER pro tempore. Pursuant          that la occupledl by tho pole attachment." .          Burgener        Fenwick           Kastenmeler
        to the provisions of clause 3, rule XXVII,       SEC. 2. Upon the expiration of the 5-year          Burke, Call!.   Findley           Kazen
        and the Chair's prior announcement,           period that begl.ns on the date ol the enact-         Burli.e, Fla.   Pl.sh             Kelly
                                                      ment of this Act--                                    Burke, Mass.    .Plsher           Kemp
        further proceedings on this motion will           (I) section 224(a) (4) of the Communica-          Burleson, Tei<. Pltblan           Ketchum
        be postponed.                                 tions Act of 1934, as added by the 11.J'st section    Burlison. Mo. Flippo              Keys
                                                                                                            Burton, Phillip Flood             Klldee
                                                      of this Act, Is re.,ealed:                            Butter           Florio           Klndncss
                                                          (2) section 224(b) (2) t>f such Act, aa Added     Byron            Flynt            Kostmayer
        PERMISSION FOR COMMITTEE ON                   by the first section of this Act, Is repealed:        Caputo           Foley            Krebs
          INTERSTATE AND FOREIGN COM-                 and                                                   Carney           F'Ord. Mich.     Krueger
          MERCE TO FILl!! SUPPLEMENTAL                    (31 eectlon 224(b) (I) or such Act, as added      Can-             .Ford. Tenn.     La.Falce
          REPORT ON H.R. 7442. MAKING                 by the 11.rst section or thls Act, ls redestgnated    carte:r          FOraythc         L.a.Joma.ratno
                                                                                                            Cavanaugh        .Pounto.ln       Latta
          TECHNICAL AND OTHER CON-                    as section 224(b) .                                   Cederberg        Frenzel          Le Fante
          FORMING CHANGES                               The SPEAKER pro tempore. Is a                       Chappell         Frey             Leach
                                                                                                            Clllsb.olm       Fuqua            Lederer
          Mr. WIRTH. Mr. Speaker, 1 ask unan-         second demanded?                                      Clausen.         Gammage          Leggett
        imous consent that the Committee on             Mr. FREY. Mr. Speaker, I demand a                     Don R.         oaydo~           Lehman
        Interstate and Foreign Commerce may           second.                                               Clawson, Del     oepb ardt        Lent




                                                                          Add. 9
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         Levitas         Nowak          Slack              excellent job he has done shepherding IMlon where a state or Jocallty was prepared.
         Livingston      O'Brien        Sllllth,Iowa
         Uoyd,caur.      Oakar          Smltb, Nebr.       this legislation through bearings and to assume the respolUllhlllty.
         Uoyd,Tenn.      Oberstar       Snyder             markup. His reputation for diplomacy                 H.R. 7442 does 001. establish procedures !or
         LOng,La.        Obey           Solarz             and knowledge of communications is regulations.   adjudicating complaints or promulgating
         Long,Md.        Ottinger       Spellman                                                                           Tbe Administrative Proced1.1re
         Lott            Panetta        Spence             obviously well earned.                            Act provides suftlclent guidelines Ior the FCC
         Lujan           Patten         St Germain           Mr. Speaker, I also wish to compli- ln this regard. More imporlant, we have
         Luncune         Patterson      Staggers           ment the ranking minority member, the sought to solve this pole attachment pro':>lem
         McClory         Pattlaon       Stango!and         genUeman from Florida <Mr. FREY). and with a ml.nlmum o! bureauracy and expense.
         McCloskey       Pease          Stanton
         McCormack       Perl<ID.S      Stark              particularly the gentleman from North Thus. tbe FCC Should quick!}' establish regu-
         McOade          Pettis         Steed              Carolina CMr. BROYHILL ). who brought lations to Implement th1s teg1s1at1on, but
         Mc.Fall         Pickle         Steers             this legislation from some slgnIBcant dis- should not oversee all pole attachment rates
         McHugh          Poage          Steiger                                                              on Its own Initiative. We expect that the
         McKay           Pressler       Stockman           agreement 2 years ago to the point of Colllln1Sston will normally only take action
         McKinney        Preyer         Stokes             consensus at which we are today.                 In lndlvtd.ual disputes after tbe complaint
         Madigan         Price          Studds               As you know, Mr. Speaker. the reg- of one of the parties.
         Magulre         Pritchard      Stump             ulation of CATV pole attachments Is un-              Second, H.R. 7442 provides that regula-
         Mabon           Pursell        Taylor
         Mann            Quayle         Teague            finished business. The Commerce Com- tions written by, and proceedings conducted
         Markey          Qule           Thompson          mitt.ee reported a pole atta- hment bill          by  the FCO or a non-federal authority shall
         Marks
         Marlenee
                         Quillen
                         Railsback.
                                        Thone
                                        Thornton
                                                          to the House at the end of the last Con- assure            that tbe retes tor pole attachments
                                                                                                            are "Just and. reasonable." A just and reA,Son-
         Martln          Ran.set        Traxler           gress, but due to the press of business It abJe rate Is defined as one which falls within
         Mazzoll         Regula         Treen             was not considered.                               a zone or reasonableness set forth ln the bill.
         Meeds           Reuss          Trible               That is why the present legislation is
         Metc:aUe        Rhodes         Taongas                                                                The 1loor ot this zone Is Incremental co,t:
         Michel          Rinaldo        Tucker            before you today. H.R. 7442 will resolve additional costs which the utility would not
         Mikulski        Risenhoover    Udall             a longstanding problem in the relation- have had but for the CATV cable attached.
         Mlkv-.          Robert~        Ullman            ship o! cable television companies on the to its pole. This tloor will ensure that a
         MUrord          Robinson       vand.er Jagt      one band, and power and telephone utili- utility will not lose money by having OATV
         Miller, Cal!J.  Rodino         Vanllt                                                              cable on Its poles. Because CATV companies
         Mlller, Ohio    Roe           Vento              ties on the other.                                a.1most Invariably are using otherwise unused
         Mlneta          Rogera         We,ggonner           The Subcommittee on Communica- space. even this 1loor wlll provide an added
         Minish          Rooney        WaJ.lter           tions held hearings on the pole attach- beneftt to utUJtles.
         Mitchell , Md, Rosenthal      Walsh
         Mltcbell. N.Y. Rostenltowllkl Wampler            ment question in both the 94th and 95th              Tbe upper end o.C the range allows a. charge
         Moal<ley       Rousselot      Watkins            Congresses. It heard from the FCC, the to the CATV pole user ol Its proportionate
         Motrett        Roybal         Waxman             CATV companies, the State regulators sh&re of the total CO(lts or the pole, such
         Mollohan       Rudd           weaver
         Montgomery     Runnels        Welsa              and the utmties.                                 total coeta being the recurring operiitl!tg ex-
         Moore          Ruppe          White                The subcommittee found that few penses, and capital costs attributable to the
         Moorhead,      Russo          Whitehurst        States regulate pole rates even though rate.      utility pole Jor the period covered by thl'
           caur.        Ryan           Whitley
         Moorhead, Pa. Santini         Whitten           poles are almost always a utility mono-              Once these expense Items and caplt.'ll costs
         Moss           Sara.sin       Wiggins           poly. Moreover, we found numerous are known, the formula provides a method
         Mott!          sauerneld      Wll•on,Bob        abuses of this monopoly power. Many for determining the maximum portlon or
         Murphy, DI .   Sawyer         Wlleon.C. H.
         Mur:phy,N.Y. Scheuer          Wilson.Tex.       utilities were charging extremely high these total pole costs which may be assigned
         Murphy.Pa.     Sebellus       Wlrth             rates, unrelated to the costs of the at- to the CATV system. The allocation formula
        Murtha          Seiberling     Wright            tachments . cable companies had no provldes that a cable system may be required
        Myers, Gary     Sharp          Wydler                                                                  bear a proportionate share of the total
        Myers. John     Shipley        Wylie             choice but to pay these rates; they had to        pole cost,, in exactly tile :,11me proportion
        Myers. Michael Shuster         Yate•             nowhere to go to get a !air hearing.              that Its attaclunent and attendant clear-
        Natcher         Sikes          Yatron               Mr. Speaker, perhaps the most Inter- ances take up usable space. By way or exam-
        lleal           Simon          Young, Fla.       esting aspect of thJs blll Is its innovative ple, on a typical utJUty pole 35 feet In length
        Nedzl           Slak           Young,Tex.
        Nichols         Skelton        Zablocki         approach to balancing State and Federal there are 11 feet of usable space ( tbat space
        Nix             Skubltz        Zeterettl         regulatory roles. The concept of the above minimum grade level clearance usable
                           NAYS-7                       "zone of reasonableness" within wh1ch for attaching cable, telephone, and electric
        Ashbrook        Ora!Sley       Volkmer          any regulatory authority may operate wtres and associated equipment). By what
        Bauman          Hansen                          provides a regulatory compromise be- ls                virtually a uniform practice throughout
        Cunningham Symms                                                                                   the United States, cable television la assigned
                                                        tween State and Federal Interests while Rpproxlmately one foot out of the 11 feet or
                  ANSWERED "PRESENT"-2                  protecting the public interest In the face usable space. (While cable only physJcal\y
        Plowers         Pike                            of a monopoly service.                             occupies app.r oxlmately one Inch or this
                       NOT VOTING-36                        This legislation is I.be product of space, half the clearance spaces between
                                                        lengthy negotiations and successful com-          CATV     cable and the next ndjace.nt pole users
        Andrews,        Kocb       Rose                                                                   are attributed to CATV.) In this example,
          N. Dalc,      t.uken         Schroeder        promises. Under the skilled and diplo- therefore, cable's share of the total capt t&J
        Blouin          McDonald       Schulze          matic leadership of Chairman VAN costs and operntlng expenses for the entire
        Breckinridge    McEwen         Stratton         DEERLm, what last year was a controver- 35-toot pole would be one-eleventh.
        Burton, John    Marriott       van Deerlln
        comns,DI.       Mathis         Walgren          sial Issue, this year is a consensus bill.            Cable would. pay Its share of not Just the
        O'Amours        Mattox         Whalen           H.R. 7442 Is supported by both the Na- cost or the 11 feet of usable space but of
        de la Garza     Meyner         Winn            tional Association or Regulatory Utility tbe total cost.a or the entire pole, Including
        Dellums         Nolan          Wolf?
        Diggs           Pepper         Young, Alaska   Commlssloners (NARUC). representing the unusable portion. Thls allocation for-
        Fowler          Rabe.II        Young, Mo.       the State utility commissioners, and the mula re1lccts the concept or relative use OJ
        Fraser          Richmon(!                                                                         t.he entire facility.
        Horton          Roncalto                       National Cable Television Association
                                                        because it strikes a fair balance between determiningThe bill does not set speclftc rules !or
           So a second was ordered.                                                                                       whether terms and cond.Hlons
                                                       States• rights and Federal regulation.            of pole attachment contraot.s are "Just p.nd
           The result of the vote was announced            Mr. Speaker. H .R. 7442 was reported re8"0nable." These usually Include matters
        as above recorded.                             unanimously by both the Subcommittee relating lo !napectlons, extent and. duratlt>n
           The SPEAKER pro tempore. The gen-           on Communications and the full Inter- or use license. liablUly !or a portion of ru-
        tleman from Colorado <Mr. WtllTH ) wlll        state and Foreign Commerce Committee. ture capital costs. Insurance, surety bonds,
        be recognized for 20 minutes. and the          I urge Its adoption by the House of Rep- lease            revocation, l!.nd like ma tLers. The fair-
                                                                                                         ness or Rf\Y iucb terms and cond.1tlons can-
        gentleman from Florida lMr. FREY) will         resen tatlves.                                    not be precisely translated Into statutory
        be recognized for 20 minutes.                      H.R. 7442 has three major provlsloru;: First, !Anguage because they will have to be viewed
           The Chair recognizes I.he gentleman         lt requires the Federal communications In tbe context of other contractual provi-
        :from Colorado CMr. Wmm>.                      Comm.lesion to regulate the rates, terms and sions. the prevaUlng practice tn the Industry.
           Mr. Wm.TH. Mr. Speaker. I yield my-         condlllons o! pole attachments I! they are and the proposed pole attachment rate. Tbe
        self such time as I may consume.               not being regulated. by a state or other non- "Just and reasonable" standard Is sufficiently
                                                       !ederat authority. U ful'ther provld.es lhaif a precise !or tbc regulatory boctJes to make a
           Mr. Speaker, first let me compUment         non-federal autho:lty may pre-empt the proper determination when presented. with
        Mr. VAN DEERLIN, the chairman of the           FCC's JurtsdJctlon at any time. The Com- speo!tlc contractual provisions which are al-
        Communications Subcommittee, for the           mittee did not WI.sh to requtre federal regu- legedly unralr.




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           Third , under lhe sunset provision con-        been the subject of extensive hearings            H.R. 7442 represents a fair and b:i.1-
        tained In the Ie;i:lslaUon, t he bills required   last year, and this year by the Communi-       anced approach which will protect the
       zone o! reasonableness wUJ be repealed five        cations Subcommittee. I am glad that           lnterests of both utility companies and
       years after the b!JI !s enacted. While a. zone                                                    the 12 million Americans who currently
        1s necessary !n view or prese1tt circumstances    a workable compromise has been w:>rked
        we do not wish to restrict the discretion o!      out.                                           subscribe to cable television in over 7,600
        the FCO and the states 1u<1efln1tely. There-          H.R. 7442 represents a needed and          communitie throughout the United
       fore, Chairman Van Deerlln wfse)S suggeste<1       appropriate legis1ative remedy to settle       States. The two principal parties in this
        that the zone be ellmlnated arter five years.     disputes between the cable television in-      matter, lhe National Cllble Television
       ThJs sunset provlslllll wlll all'ord the FOC       dustry, nnd utility companies over the         Asso::iatlon and the Na tional Association
       an<1 non-federal authorities greater leeway                                                       of Regulatory Utility Commissioner;,
        to select a more appropriate rate ma.king         rates. terms and conditions of cable pole
       stan<1ard should experience and changed            attachments. Disputes have centered            have formally approved of H.R. 7442.
       conditions so c!lctate. Arter five years. these    around who has regu1atory authority            Therefore. I hope lhat my colleagues wlll
        regulatory bodies w!JI only be guided by the      over utility pole attachments. The Fed-        join with me in supporting this needed
        "'Just and rel\Sona.ble" standard.                era\ Communications Commission has             legislation, and thereby providing an ap-
           While this range of reasonable rates ls        stated that It does not have the au-           propriate resolution of the pole attach-
       a':lproprlate ror cable tele,•1s1on pole attach-   thoi·ity to reguJate pole attachment           ment controversy.
        ments. It Is not the Committee's Intent to        rates. To further complicate this prob-           Mr. FREY. Mr. Speaker, I have no fur -
       Imply 1t favors thls standard !or any other                                                       ther requests for lime.
        aspect of dbmestlc common carrier or other        lem, only three States-California,
       communlca~lons regulation. As you know,            Rhode Island, and Connecticut-have                Mr. WIRTH. Mr. Speaker, I yield 2
       :Mr Speaker, under Chnlrman Van Deerlln's          asserted Jurisdiction in regulating pole       minutes to the gentleman from Ten-
       able direction. tbe Communications Sub-            attachment disputes.                           nessee 1Mr. GoREl.
       committee Is undertaking an In-depth re-               The cable television industry has tra-        Mr. GORE. Mr, Speaker, I would like
       view oC the Communications Ac I'.>! 1934 .         ditionally relied on telephone and power       to direct n question to the author of the
        An Important aspect of thl\t -review Is to
       determlne the proper ratemaklng cr1terta. to       companies to provide space on poles for        blll. the gentleman from Colorado lMr.
       be used for common carrier regulation . It         the attachment of CATV cables. Pri-            WIRrHI. As I read the language defining
        would thus bo prema.ture tt> Imply that thlB      marily because of environmental con-           State authority, it would appear to me
       standard would be aoproprlate for any other        cerns, local governments have prohibited       that r~ral electric cooperatives are in-
       a.rea or communications price regulation .         cable operators from constructl11g their       cluded in the exemption stated by that
           In conclusion, let me again compliment         own poles.                                     language. Is that the intention of the
        both Mr. van Deerlln and the ranking minor-                                                      author of the bill?
        ity member of the Communications Subcom-              Accordingly, cable operators are virtu-
        mittee. Mr. Frey. for their able leadership       ally dependent on the telephone and               M1·. WIRTH. The gentleman is correct;
       on this legislation. AJ; a result of their work    power companies to provide cable tele-         yes.
        a problem wluch was brought to the atten-         vision service to millions of existing as         Mr. Speaker, I yield back the re-
        thm or the Subcommittee less than two             well as potential, new subscribers. Some       mainder or my time.
        years ago should soon be resolved.                utilities have taken advantage of their           Mr. LUKEN. Mr. Speaker, I rise In sup-
          Mr. FREY. Mr. Speaker. I yield myself           position over the cable operators. The         port o! H.R. 7442, a bill which I cospon-
       such time as I m11,y consume.                      result has been unreasonable attach-           sored. which would amend the commu-
          Mr. Speaker, I suoport passage of R.R.          ment ch:m ~es and the forced interrup-         n1catlons Act of 1934 to provide for the
       7442. a bill that addresses a long stand-          Uon of services to consumers currently         regulation or ut!Uty pole attachments.
       ing problem for the cable television               subscribing to cable television. As of July,      The cable television Industry br1ngs
       Industry.                                          there were 27 States in which pole at-         broadcast signals and other entertain-
          There are very few States In which               t:ichment disputes existed. In some cases     ment and intonnation to the subscribers
       there ls a forum for cable television op-          utilltie had increased rates by an aver-       by attaching its wires to existing utillty
       erators and utilities to present their re-         age of 61 percent over previous years. In      company poles.
       spective positions in a dispute over the           my State of North Carollna, service was
       rates, terms, or conditions for pole               cUsrupt.ed for 3 days to aproxlmately             It has been bl'ought to Lhe attention of
       attachments. As a result, the cable oper-           1,200 cable subscribers when a dispute        the Subcommittee on Communications
       ators have often faced a take it or leave          arose over a rate increase proposed by a       that utility pole owners are now in a po-
       it situation In a dispute over a contract          utility company. For 9 years the cable         sition to charge cable television compa-
       that they could neither afford to take             industry has sought a resolution of this       nies almost any rates they choose for the
       nor leave. Unless the cable operator can           untenable situation. A situation, l might      rights to attach their equipment to the
       attach his Wires to poles. he may not be           add, that is troublesome to both the cable     utility poles. Cabl e television owners do
       able to operate. Il he agrees, and he may          industry and the power and telephone           not have the leverage necessary to nego-
       have no other choice, to an extremely              companies.                                     tiate for a fai r price. This p1aces an un-
       high rental fee, his economic viability                This is why I am particularly pleased      reasonable burden on the cable compa-
       may be threatened.                                 with the legislation that Is currently be-     nies and their subscribers.
          Unlike the bill passed by our commit-           fore the House for consideration. H.R.            This bill would give either the Federal
       tee last year, this bill has the effect or         7442 1·epresents the efforts of both the       Communications Commission. or any
       establishing a nationwide standard for             cable televlsioo Industry and the utilities    State or local authority which so desired
       pole attachment rates. Whlle I have In             in worlth1g out a legislative remedy th!tt     it, the authority to assure that attach-
        tho past been uncomfortable with that             will provide a badly needed forum for          ment rates are Just and reasonable. It
       concept. I view this bill as an Interim             the l'esolution of rates, terms, and condi-   further defines a just and reasonable rate
       relief measure since the rate standards             tions of utility pole attachments. This       as one which will assure the ut!llty o!
       expire after 6 years.                                legislation will authorize the Federal       recovery of not less than the additional
          I would also note that our subcommit-           Communications Commisslon to ad -              cost of providing the pole attachment.
        tee will revisit this issue next year dur-        judicate cUsputes relative to the rates,       The upper limit of such a rate must as-
        ing our revision of the Communications             terms, and conditions of pole attach-         sure that the utility will not recover more
       Act.                                                ments. Additionally, the bill provides         than the actual capital and operating ex-
          Mr, Speaker. I yield such time as he             that any State may preempt the FCC            penses of the utility attributable to the
       ma,y consume to the gentleman from                  and assume jurisdiction at any time. The      percentage of the total usable ~J.Jace on
       North Carolina CMr. BROYHILL).                     legislatlon also provides that 1·egulatlons     the pole occupied by the pole attachment.
           Mr. BROYHILL. Mr. Speake1·. as a                prescribed by the FCC. or the appropri -         It is important to note thaL l;i years
        primary sponsor of the utility pole at-           ate state authority, assure tnat the rates     from the date of the enactment of this
        tachment bill. R .R . 7442, I am pleased           for pole attachments are just and rea-        bill the definition of what is a just and
        that this needed leglslatlon has finally          sonable. Just and reasonable rates shall        reasonable rate ls repet1led. This "sunset"
        reached the Rouse floor !or a vote. As            not be less than the Incremental costs to       provision insures that o. definition which
        a result of considerable discussion over           the utility of providing the attachment.       properly reflects today's market realities
        the past several months R.R. 7442 is a             and not more than the actual capital and      does not lock the regulatory authorities
        relatively noncontroversial bill which             operating expenses associated with the         into what may, in the future, become an
        focuses on a major controversy that has            pole attachment to the utility company.       11.11tlqu0.ted standard as 11e,v technolo-




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          gies and new competitive relationships objection, a second will be consldert'd as                  To the extent that the value of the
          develop.                                         ordered.                                       traded-out vessel exceeds t11e value of the
            It is also important to point out that            There was no objection.                     traded-in vessel, plus t.h e towlng cost, the
          this bill gives the FCC authority to assure         The SPEAKER pro tempore. The gen-           owner of the traded-In vessel would pay
         that rates are just and reasonable only tlc1mm from New Yor!t (Mr. BrAGGrl will                  the excess to the Secretary of Commerce
         In cases where State or local authorities be recogntz'.!d for 20 minutes, and th£:              1n cash at the time of exchange for de·
         do not wish to accept this responsibility. gentleman f•·om Michigan cMr. RUPPE: >                posit Into the Vessel Operations Revolv-
            Mr. Speaker, this Is a good bill. It ad• will be 1ecognized for 20 minutes.                   ing Fund, and all costs incident to the
         dresses a specific problem that has been             The Chn i:- recognizes the gentleman        layup of the traded-in vessel would be
          brought to the attention of Congress. It from New York (Mr. BIAGGI ).                           paid from balances In the fund. No pay-
         does so, in what I believe, is a simple and          Mr. BIAGGI. Mr. Speaker, I yield my ,      ments would be made by the Secretary
         straightforward manner without creat- self such time as I may conS'Jme.                         of Commerce to the owner of any traded-
         ing a large new Federal bureaucracy,                 Mr. Speaker. I rise In upport of            In vessel.
            The SPEAKER pro tempore. The ques· R.R. 7278, a blll to upgrade our                             Finally, R.R. 7278 provides that, not-
          tlon is on the motion offered by the National Defense Reserve Fleet by                          withstanding the provisions of sections
         gentleman from Colorado <Mr. WIRTH) authorizing lbe Secretary of Commerce                        9 and 37 of the Shipping Act or 1916,
          that the House suspend the rules and to acquire Mariner cli:.ss and other suit-                 which prohibits the transfer or Ameri -
         pass the bill R .R. 7442, as amended.             able vesselson exchange for obsolete ves-      can-flag vessels to forelgn ownership
            The question was taken; and <two- sels In lhat fleet sched Jled for scrapping.                without the consent of the Secretary of
         thirds having voted in favor thereof),               As the Members know, the Secretary of       Commerce, vessels traded out under the
         the rules were suspended and the bill, Commerce has the responsfbility to pro-                  bill may be scrapped in approved foreign
         as amended. was passed.                           vide mercha:i.t shipping during times of       markets.
            A motion to reconsider was laid on the national ern<?rgency. One of the most                     Mr. Speaker, the witness for the De-
         table.                                            nvailable sources of merchant sht,p!ng        pattment of Defense stressed that the op-
                                                           avallable to Lhe Secretnry for this pur-       portunity alJorded by H.R. 7278 to reju-
                                                           pose are the l'essels which are laid up In     venale our National Defense Reserve
                MARINER TRADE-IN BILL                      the National Defense Reserve Fleet. Un-        Fleet by the acquisition of relatively
            Mr. BIAGGI. Mr. Speaker, I move to fortuualely. most of these ve.-,sels date                  modern cargo shlps must not be lost, as
         suspend the rules and pass the bill CR.R. back to Wo1·lC:. War n. By re1at!ve stand-            such vessels are particularly well suited
         7278) to amend section 10 of the Mer- ards, they are slow, and have small carry-                 to the Department of Defense in wartime.
         chant Marine Act, 1936, as amended.               ing capacity                                  The reported bill would provide for a
            The Clerk read as follows:                        ln forme:· years, U.S.-flag break-bulk     most efficient method of accomplishing
                              H.R. 7278                    vessels were readily available from both      this objective with adequate safeguards
            Be it enactect by th.e Senate and House        the scheduled liner !\crvice--both sub-       Ior the Government.
         o/ Repru(1ntattves o/ the United States of sidized and nonsubsidlzed-and so-t:9lled                I strongly urge the House to support
         A mertca in Congress aasemb/ect. Tbac subsec.     tramp, or unscheduled shipping. The            R .R. 2787, so Lhat we have the oppor-
         tlon 510(1) or the Merchant Marine Act, tramp fleet, once a la,ge source of con-                 unlty to upgrade the National Defense
         1936 (46 u.s.c. U60rl) I Is hereby amended        tingency s;,irge capability i.s almost non-    Reserve Fleet.
         to read as follows:                               exi!.tent. Since the U.S.-flag tramp flee;;      Mr. RUPPE. Mr. Speaker. I rise in
            "(I) The Se::retary or Commerce Is author-     ls no longe?· available, the Nat1onnl De-     support of R.R. 7278. a bill which allmvs
         Ized to acquire mar Iner class vessels con- fense Reserve Fleet is more important               the Secretary of Commerce to exchange
         structed under title VII or this Act and Pub-     th::m ever.                                   obsolete vessels In the National Defense
         lic Law 911. Elgbt}•-t,rst Congress, and other       Uufortuu::itely, there are r.ow only       Reserve Fleet for newer vessels. Th"s
         suitable vessels, constructed In the United
         States, which have never been under foreign about 130 merchant vessels In the Na-               legislation basically extends, and makes
         documentation, 111 exchange tor obsolete ves-     tional Defense Reserve Fleet with any          permanent, a law which expired on Jan-
         sels In the National Defense Reserve Fleet. shipping u';;Uity. The 1 ~malnlng vesselo           uary 2, 1977. I support it because lt would
         For purposes or this subsection. the trade-in are ready fo, scrappinfi:.                        permit the improvement of our National
         and trade-out vessels shall b<! valued at the        Clearly, something must be done to         Defense Reserve Fleet at no expense to
         blgber or their scr11p value In domestic or upgrade this vital national security asset.          the taxpayer.
         !orelgn markets as oI the dnce of the ex- And R .R. 7278 would just do that.                       Because or containerization and other
         change: Promdect, That ln any exchange
         transru:tlons, the velue assigned ,o the             H.R. 7278 would authorize the Secre-       te~hnologlcal in:iprovements in the U.S.
         traded-In and traded-out vessels will be de- tary of Commerce to acquire Mariner                merchant marine. many standard gen-
         termined on the same basis. The value of the      class  and other suitable vessels, con-       eral cargo ships built In the 1950's and
         traded-out vessels shall be as nearly as pos- structed in the United Slates. which have         1960's have become commercially ob•
         sible equal to the value of the traded-In ves - never been under foreign docwnentatlon,         solete and therefore subject lo scrapping
         sel plus the !alt value of the cost or towing in exchange for obsolete vessels in the           by their private owners. Howevei·, these
         the traded-out vessel to the place of scrap- National Defense Reserve Fleet. A "suita-          vessels which are relatively fast and have
         ping. To the extent the value of the traded-                                                    self-sustaining cargo loadlng and dis-
         out vessel exceeda the value of the traded-In ble vessel" would be any oceangoing
         vessel plus the fair value of the ~ost of tow• vessel determined by the Secretary of            charglng capacity are useful for mili-
         Ing, the owner or tile traded-In vessel sl;laU Commerce to be suitable for upgrading            tary purposes. R.R. 7278 allows the Sec-
         pay the excess to the Secretary or Commerce the National Defense Reserve Fleet. Any             retary of Commerce to obtain these ves-
         ln cash at the time ot exclla.nge. This excess    criteria to be used in detennin!ng wheth-     sels by exchanging them for vessels In the
         she.II b<! deposl ted Into the Vessel Operll uons er a vessel is sultable would be set forth    National Defense Reserve Fleet which
         Re,•ol\•lng Fund and all cost.s Incident to the in regulations promulgated by the Mari-         are obsolete in every respect. Thus the
         lay-up of the vessels acqulted under this Act                                                   Government gets a newer vessel, and the
         mny be pnfd from b1Lla.ncea In the- Fund. No
                                                           time Administration of the Department
         payments shall be made by th.e Secretary of or commerce.                                        private owner gets equivalent scrap value.
         Commerce to the owner of any traded-In               In acquiring such vessels, the traded-in      The bill requires that trade-in and
         vessel ln connection with any exchange and traded-out vessels would be valued                   trade-out vessels be valued on the same
         under tbJs subsection. Notwlthstandlng the on the same basis; at the hlg!:ler of their          basis. at the higher of their scrap value
         provision,, of sections 9 and 37 of the Ship- scrap value in domestic or foreign mar-           in the domestic or foreign markets on
         ping Act. 1916, vessels traded ou~ under this kets on the date of the exchange. The             the date of exchange. The value of the
         subsection mAy be SCTllpped ln appro,·ed for-                                                   trade-out vessel is to be, as nearly as
         eign market.s, The provlSlon of this subsec- value or the traded-out vessel would be            possible, equal to the sum of Lhe trade-
         tion ( i) as It read prior to the 1976 amend- as nearly as possible equal to the value of
         ment shall govern all transe.ctlons made the traded-In vessel, plus the fair value              in vessel plus the cost of towing the
          thereunder prior to t:hat runendmen-t:.".        of the cost or towing the traded-out ves-     trade-out vessel to the scrapping yard.
                                                           sel to the place of scrapping. The fair       Thus the private operato1· need only bear
            The SPEAKEEl. pco tempo,·e. Is a sec• value or such towing is included because               the cost or delivering his vessel to the
         ond demanded?                                     1! the owner of such traded-in vessel was     National Defense Reserve Fleet facllity;
            Mr. RUPPE. Mr. Spf'aker, I tle111JU1d a to scrap it abroad, he would be able to              he does not have to bear the cost of de -
         second.                                           carry cargo to an area near where the         livery to the scrap yard. which in many
            The SPEAKER pro tempore. Without vessel would be scrapped.                                   cases will be in a !ore!gn country.




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                                                               Calendar No. 534
              95TH CoNOU88                    SENATE                              R:maoll'l'
                Jat8urion                                             {       No. 95-580




              C()llllU~ICATIOXS ACT AIIENDMENTS:-PE~AT,ITIER AND JrORi'EIT-
               t"RES AUTHORITY AND RJmULATION OF CABLE TI<:LEVISIO~ POLE
               ATTACHMENTS BY THE FEDERAL COllMl.:NICATIONS COMMISSION



                 xovEMREB 2 (Legielatlve day, No,"EirnER 1), 1977.-0rderl'd to be printed




                )fr. HoLLrNGS, from the Committr<• on Commerce, Science, and
                          Transportation submitted the following

                                            REPORT
                                        [To accompan:, S. 1M71

                The Committee on Commerce, Science, and Transportation, to which
              was referred the bill (S. 1547) to amend the Communications Act of
              1934, as amended, with respec:;t to penalties and forfl•itures, and to au-
              thorize the Federal Communications Commission to regulate pole at-
              taelunents, and for other purposes, having considered the same, reP.?rts
              f&\·orably thereon with amendments and recommends that the bill as
              amended do pass.
                                       SUMMARY AND PURPOSE

                 The bill (S. 1547) serves two purposes:
                 (1) To unify, simplify, and enlarge the scope of the forfeiture
              proVISions of the Communications Act of 193-l; and
                 (2) To establish jurisdiction within the Federal Communications
              Commission (FCC) to regulate the provision by utilities to cable tele-
              ,ision systems of space on utility poles, ducts, conduits, or other rights-
              of-way owned or controlled by those utilities.
                                    PENALTIES A.ND FORFEITURES

                 S. 1547, as reported, would unify and simpJify the forfeiture provi-
              sions in the Communications Act of 1934, enlarge their scope to cover
              all persons subject to the act, provide more practical limitations pe-
              riods and more effective deterrent levels of forfeiture authority, and
              would generally afford the Federal Communications Commission
              greater flexibility in the enforcement of the Communications Act and
              rules and regulations promulgated thereunder.
                   29--019




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                       The Communications Act of 1934 now im~ monetary civil pen.
                    altilll on cert.ain individuals w•o fail k> comply with tba.Cmu:r1nica.
                    U8DI Act. FCC ~ o u , or related matters. 'lbese civil liabilities
                    include tJie forfeifuN pro.ieiellll iL sectiea 608(1,) (relating t.o ~
                    broadcast services) and section 510 (applicable to nonbroadcut ndio
                    stations). S. 1547 would enlarge the scope of forfeiture liability under
                    these sections to cover other persons subject t.o the Commurucations
                    Act-euch as cable television systems, users of experimental or medi-
                    cal equipment emi~ ~ e t i c mdiation, ~rsons ~
                    without a valid radio station or operator's license, and some com.mum.
                    cationa equipment manufacturers.
                       S. 1M7', as reported, would make three alterations in the existini
                    forfeiture pl'OW'isions. First, it would extend the limitations peri<><l
                    within which notices of liuilit_y_ lltU8t, be issued: for persons not previ-
                    ously subject to forfeiture liability, 1 yea.r; for nollbroadeast licensees,
                    from the present 90 days to 1 year; and for broadcast licensees, from
                    the present 1 year to 1 year or the cun-ent licellll8 term, whichenr is
                    longer, not to exceed 3 years. Second, the maximum forfeiture that
                    could be imposed lor a &1ngle violation would ba ra.iied to Si,000 · for
                    multiple violations, within an1 single notice of liability, $20,000 /or a
                    common carrier, broadcast bcensee, or cable system operator, and
                    $.5,000 in the case of aU other persons. Third, the bill would authoriu
                    the Commission to mitigate or remit oommon carrier forfeitures in the
                    same way as it now may with respect to all other forfeitures. Furtlwr-
                    more, the Commission would be gn·en its choice of using the traditional
                    "show cause'' procedure for imposing a forfeiture or alternath·ely
                    holding an adjudicatory hearing under section .5M of the Administra-
                    tive Procedme Aet.
                                         l'OLE A'ITACHU'L"ff ltEOC'LATION

                       S. 1547, as reported, would empower the Commission to hear an
                    resolve complaints regard.in~ the arranpments between cab)e televi-
                    sion systems and the owners or controllers of utility poles. A po
                    attachment, for purposes of this bill, is the occupat10n of space o
                    a utility pole by the distribution facilities of a cable tele,·ision system
                    coaxial cable and associated equipment-under contractual arrange
                    ments whereby a. ('ATV system rents available space for an annual o
                    other periodic fee from the owner or controUer of the pole-usually
                    telephone or electric power company. The C-0mmisslon would pre
                    scribe l'l"gulations to provide that the rates. terms, and conditions fo
                    pole attachments an-. Just and reasonable. For a period of 5 years afte
                    enactment of this act, the Commission would employ a specified rate
                    setting formula in determining whether a particular pole attachmen
                    rate is just and reasonable. The formula describes a range between mar
                    ginal aJ;Ld a preportionate share of fully allocawd costs within wbic
                    pole rates are to fall.
                       An,;y State which chooses to regulate pole attachments may do so
                    any time, and will preempt the Commisgjon's involvement in pole
                    attAcbme~ arra-rent.s in tJ1at State simply by notifying the FC.C
                    that it ~&tes           rates, terms, and conditions for such a.ttacbmeot.s.
                    S. 1547 in no way limits or restricts the powers of th6 several St.au:;
                    to regulate pole attachments.




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                       fering with the right of nonsubscribers to the quiet enjoy-
                       hlent of their own radio and tele,•ision l'eception. And, unlike
                       the se"ice a system provides to its own subscribers, there are
                       few, if IJ!Y, marketplace inceuti,·es for such leakage to be
                       i:epaired. The individual subject to the int.erference may have
                       no idea that the poor quality picture he rccei,·cs is anything
                       other than the result of natural propagation difficulties and
                       ieneral radio noise. 'While there may well be cable operators
                       m rural areas and backwoods hills and hollows whose radia-
                       tion seems at this time to cause no injury to anyone, we see no
                       practical way of differentiating in the rules between this mi-
                       nority and the majority of cable operations whose leakage has
                       a potential for creating real reception problems.
                     The FCC's present enforcement tools of cease and desist and re\'Oca-
                  tion of certificates of compliance are totally inadequate in the cable
                  television area. The forfeiture alternotfre is essential. The purpose of
                  S. 1547, as reported, is to treat all partil's subject to the Communica-
                  tions Act eqmtably and fairly and 1s not exclusivelr aimed at CATY.
                  Any exception for CATV would work great unfa1rnei::s on other in-
                  dust.ries which are IMS likely t.han t·able operators to be familiar with
                  FCC rules and regulations but are neverthele~ subject to forfeiture
                                                0




                  authority.
                     The committee notes that S. lMi, as reported. is prospecth·e in it~ ef-
                  fect ~r <'able operators. Section 7 of the bilJ, as reported by the com-
                  mittee, specifically pnnides that any act or omis..~ion which occurs prior
                  to the effective date of this act shall incur liability under the provisions
                  of existing forfeiture authority as then in effect. Therefore. eahle
                  opt;rators will not be subject retroactively to increased forfeitures for
                  vwlations which occurred prior to tho effedive date of S. 1547.
                                       POLE ATl'ACHlrENT REGt"LATJOS'

                     It is the general practice of the cable television (CATV) industry
                  in the construction and maintenance of a cable system to lease space
                  on existing utility poles for the attachment of cable distribution fa-
                  cilities (coaxial cable nnd associated equipment). These leasin~
                  agreeml'nts typically im·oh-e the 1-ental of a portion of the com-
                  munications space on a ·pole for an annual or other periodic fee n:-
                  well as reimbursement to the utility for all costs associated with 11re-
                  paring the pole for the CATV attachment. The FCC estimates that
                  there are currently over 7.800 CATV pole attachment agreement:-
                  in effect. .Approximately 95 .percent of all CATV cables are strung
                  abo,·e ground on utility poles, the remainder being placed under-
                 ground m ducts, conduits, or trenches. These poles, duct.:;, and conduit:-
                 .are usually owned by telephone and electric power utility companies,
                 which often have entered mto joint use or joint ownership agreements
                 for the use of each other·s poles. It is e.stimated that approximately 'i'O
                 percent of all utility pofes owned by either telephone or electric
                 utilities are actually JOint.ly used. These joint utility agreements com-
                 monly re.serve a portion of each pc:,le for the use of communications
                 services (telephone, telegraph, CA.TV. traffic signaling, municipal fire
                 and ~lice alarm systems, et cetera). This communications pole space
                 is usually under the control of the telephone company.




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                    Owing to a yariety of factors. including Nwironmental or zoning re-
                 strictions and the costs of erecting separate. CATV pofos or l'lltfl'tu•h-
                 . CATV cables underground, there is often no practical alh'rnative
                 ~a CATV system operator except to utilizl' available space on l'xist-
                 ~ J>C?les. The number of poles owned or controlled by cable companies
                 is msignifkant., estimated to be less than 10,000, as compar<"cl to the
                 over 10 million utility-owned or controlled poles to which CATV lines
                 al"<' attached.
                    Sharing arrangements minimize unne<'essnry and costly <luplic·ntion
                 of plant for all pole users, utilities as well ns <'nhle <'ompanies. ~ e\'l'l'-
                 tbeless, pole attachment agreements between utilitil's which own and
                 maintain pole lines, and cable teleYision syst<'ms which l<"aS<" nvuilablo
                 !;pnce ha,•o generat<'d consid<'rab}(~ debate. Conflict ari~1•:-, undN'Shrnd-
                 ~bly from efforts by each type of firm to minimiw its ~hare of the
                 tot.at' fixe<l costs of jointly used facilitiN;. Of the more thun lO mil1ion
                 poles on which cable operators l<"as<> :-poc<'. fewl'r than half 1u·e con-
                 trolled hY, telephone compnnies, whilt'> ;i:3 percent nre controllec.l by
                 power uhlit.ies, publi<· and prh·nte. :\lost CATV :-ystems least• space
                  from more than one utility. Au estimated i:? pN·cent of all l'nhll' sys-
                 tems leo~t• pole space fron1 Bell Tdcphone opf'ruting compnni<'i-, ap,-
                 proximately 65 percent ha,·e agreements with im·estor-ow1w1l power
                 compani<"s, n.n additional 21 pl'rcmt lease sput·e from indt•pf'ndent
                 telephone companies, while 10 pt>rcent nttach to poles owned by UEA
                 cooperatives arnl 14 percent acquire fipacc from utilities owned by
                  municipalities.
                     Due to the local monpoly in owne~i;hip or r~ntro} of pol~s to which
                 cable system operators, out of necci;;s1t,r or bmimess converuence, must
                 attach their distribution facilities, it is contended that the utilities en-
                 joy a superior bnrgainin~ position over CATY systc'Jl1s in negotiRting
                  the rates, terms nnd conditions for pole attachment~. It hn.s h<'<'tt nllr.ged
                  hy representath·es of the cable television industry that some utilitieR
                  hn\'e abused their superior barpining J?OSition bv demanding exorbi-
                  tant rental fl'l'S and other unfair terms m return 'for the right to lease
                  pole space. Cable operators, it is claimed, are compelled to concede to
                 these aemands under duresi:i. The Commisi:iion's Ofli<'e of Plam; and
                 Policy, in a staff report released in August 1971, concluded that,
                 "[a]ltbough the reasonableness of current ·pole attachment rates re-
                  mains open to <JUestion, public utilities by virtue of their size and
                 e~clusive control over access to pole lines, arc unquestionably in a posi:
                 tion to extract monopoly re.nts from cable TV systems in the form of
                 unreasonably high pole attachment rates" (pa~ 34).
                    The committee received testimony that the mtroduction of broad-
                 band cable services may pose a competitive threat to telephone com-
                 panies, and that the pole attachment practices of telephone companies
                 could, if unchecked, present realistic dan~rs of competitive rest.raint
                  in the future. The Commission has investigated the competitive inter-
                 relationships of telephone and ca.l,le compaail•s in various proceeclin"9
                 a!)d eonte~, .and has t!lken action to curtail potential anticompeti-
                 tive practices m several instances. (See for example, Common Carrier
                 Tariff, for CATV SystemJJ, 4 FCC 2d 257 (1966); Gemral Te'leplwM
                 Oo. of OaJ,if<Jf'f&i,a. 13 FCC 2d 448, afd. 413 F. 2d 890 D.C. Ch-. ren;
                 den~a,      396 U.S. 888 (1969). Seei also. GenP.rol TekpNJITUI, Oo. of th
                 Bouthwut v. United States, 440 F. 2d 846,857 (5th cir.1971).)




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                     The pole attachment pc>liciM and_p~ices of utilities o ~ or con-
                   trolling p<>les are generally ~ at the present time. Currently
                   only one Stat&-Connecticut--aetuaUy regulat.es pole attachment ar-
                   rangementa, while in another eight States, regulatory authority BP,-
                   parently exists but has not been exercised=--california, Hawaii,
                   Nevada, Alaska, Rhode Island, Vermont, New Jersey, and New York.
                   Acco~ to a recent survey conducted by the Commission's Cab1e
                   Television Bureau, entitled "Cable Television Pole Attachment-
                   State Law and Court Cases," very few States have speci6c statutcrv
                   provisions governing attachments to utility poles. Only 15 St.at.es.
                   including tlie District of Columbia, appear to ha\"e enacted statutorv
                   authority which may be of sufficient breadth to permit regulation   bv
                   an appropriate State body.                                           •
                                JURISDICTIONAL BASIS FOR FCC REGULATION

                      Moreover, the Feder.a.I Communications Commission has recentlr
                   decided that it has no jurisdiction under the Communications Act    of
                   1'934, as amended, to regulate pole attachment and conduit rental ar-
                   ra~ments between CATV systems and nontelephone or telephone
                   'Dtibties. l(JaJ,i/ornia Water anil Tekp~ Oo., rt al,., 40 R.R. 2d
                   419 (1977 .) This decision was the result of over 10 years of procl'oo-
                   ings in w ich the Commission examined the extent and nature of its
                   jurisdiction over CATV pole attachments. The Commission's decision
                   noted that, while the Communications Act conferred. upon it expansive
                   powers to regulat<> nll forms of l'lectrit'al mrnmunication, whether by
                   telephone, telegraph, cable or radio, CATV pole attachment &ffl!,llge·
                   ments do not constitute "communication by- wire or radio," and are
                   thus beyond the scope of FCC authority. 1'he Commission reasoned:
                           The fact that cable operators have found in-place facilities
                         convenient or even necessary for their businesses is not suffi-
                         cient basis for fin~ that the leasing of those facilitiea is
                         wire or radio communications. If such were the case, we mi_ght
                         be called upon to regulat.e access and charges for use of pu6lic
                         and private roads and right of ways essential for the laying
                         of mre, or even access and rents for ant.enna sites.
                      In addition. the Commission concluded that there WAS no reason to
                   separat.e resolution of the purely legal qu~ion of jurisdiction on the
                   hluris of whether the party owning or controlling the pole was a tele-
                   t,hone or nontelephone company.
                      The committee believes tnat S. 1547, as reported, will resolve this
                   jurisdictional impasse. by crea~_within the FCC an administrative
                   forum for the resolution of CATV pole attachment.a disputes and by
                   {lrompf.ing the several Stat.es, should they wish to involve themselves
                   m tlieae matters, to develop their own plans free of Federal
                   prescriptions.
                      The committee believes that Federal involvement in pole attachment
                   arrangements should serve two specific, interrelated purposes: To es-
                   tablish a mechanism whereb:r unfair pole attachment practices rnav
                   come under review and sanction, and to minimize the effect of unjust
                   or unreasonable pole attachment practices on the wider development
                   of cable television sen·ice to the public.




                                                Add. 17
